    Case 2:10-cv-01332-AHM-FFM Document 122-1 Filed 10/17/11 Page 1 of 60 Page ID
                                     #:2035




                                                   In The Matter Of:

                                STATE FARM MUTL AUTO INS. CO.
                                                              v.
                                                         SLA VIK STEIN




                                     GUTGARTS, ELIOZAR - Vol. 1
                                                       February 24, 2011




                                                                             MERRILL CORPORATION
                                                                           Leu.aUnk. 1"0_         20750 Ventua Bolevrd
                                                                                                               Suter 20
                                                                                                 Wooan Hills, CA9136 ,
                                                                                                     Ph: 818.5923
                                                                                                        Fa: 818.59231




l'ir......~'.i$.:...-ii~~__...~"'-i...,;.....;i~..ii . i::i ... ..~~ ~'"    ~....~...Y:~~~"'~ i iI .r~..~~_~..
  Case 2:10-cv-01332-AHM-FFM Document 122-1 Filed 10/17/11 Page 2 of 60 Page ID
                                   #:2036

                    ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                     Page 1
                   UNITED STATES DISTRICT COURT

             FOR THE CENTRAL DISTRICT OF CALIFORNIA




    STATE FARM MUTUAL AUTO INS. )
    CO., et aJ., )
                  Plaintiffs, )   )




         VS. )Case No. 2:10-cv-01332
                                  )



                                  )
    SLAVIK STEIN, et aJ., )
                                  )
                  Defendants. )
                                  )




                 DEPOSITION OF ELIOZAR GUTGARTS

                            TAKEN ON

                   THURSDAY, FEBRUARY 24, 2011




    Reported by: MARLA GORLI CK

                  CSR No. 3767




                                                            ,~,___.~,'"",_:-,,,,:_,~ i;,-"",:,~,~Y,''''';-¡;:Ù_''-'''~Äi'''~',*~X1õi~:;_~,.'iÇR~è':'i..: ;i",,,,,,,;:.;. -'."..il


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                     ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                                    Page 2
 i             Deposi tion of ELIOZAR GUTGARTS, taken on behalf of
 2      the plaintiff, at 2029 Century Park East, 26th Floor, ì i.                                                                                                Il
 3      Los Angeles, California 90067, on Thursday, February 24, ~


        pursuant to Notice. 1
                                                                                                                                                                  ~
 4
        2011, at 2:09 p.m., before Marla Gorlick, CSR No. 3767, J
 5

 6

 .1 APPEARANCES:
 8

 9 FOR THE PLAINTI FF:
10             FREEBORN & PETERS LLP
               BY: NEAL H. LEVIN, ESQ.
11             311 South Wacker Drive
               Sui te 3000
12             Chicago, Illinois 60606-6677                                                                                                                        .
              (312) 360-6000                                                                                                                                       l
                                                                                                                                                                    ,f,
13
         FOR THE WITNESS and THIRD- PARTY RESPONDENTS:
14
              LAW OFFICE OF GERALD I. NEITER
15            BY: GERALD I. NEITER, ESQ.
              1925 Century Park East
16            Suite 2000
              Los Angeles, Cali fornia 90067
17           (310) 277-2236
18      ALSO PRESENT:
19            LYUDMILA GUTGARTS
20

21

22

23

24

25

                                                     ,,' :';~tj*-¡-:-. "'"'~*!ii -i.'¡' ",,. _ _"n".:""'_;'"";;-)";)".:,--,-"~;¡I$;¡Z¡~,,rc~_V;M~'l¥";;'_':;':"i~A"""'''_''_'h':''''''_~_.:,:,~~:i:,.",


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                                                                            ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                                                                                Page 3 ~
        1
                                                                                                                                            I N D E X
       2

       3
                           WITNESS                                                                                                        EXAMINATION                  PAGE
       4
                           ELIOZAR GUTGARTS                                                                                               (By Mr. Levin)                    4
       5

       6

       7

       8

       9
                                                                                                                          EXHIBITS
  10                      NO. PAGE                                                                                        DESCRIPTION
 11                       Exhibit 1 24                                                                                    Subpoena to Testify at a Deposition
 12
                                                                                                                          in a Civil Action
 13

 i 4



 15

 16

 17                       UNANSWERED QUESTIONS
 18                      Page                     8, Line 10                                                                       Page 51, Line 20
19                       Page                     17, Line 22                                                                      Page 54, Line 19
20                       Page                     31, Line 7
21                       Page                     32, Line 8
22                       Page                     32, Line 21
23                       Page                     34, Line 17
24                       Page                     47, Line 3
25                       Page                     51, Line 15
~,'iik,&:~;¡"~":,,,"':;;";Y:':"-;-;-;'-- ,_c.__,:.:_._",_._.','" ."'~...;;i:0:~;;a.l:.f.."~i~:_""'',:''::;l;:;i._;;:ioi::.;';--¥.~H);~'



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                                                                                 ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                                                                                                                                                                    Page 4
        1
                                                      LOS ANGELES, CALIFORNIA; THURSDAY, FEBRUARY 24, 2011
       2
                                                                                                                                                        2:09 P.M.
       3

       4


       5

       6
                                                                                                                                   ELIOZAR GUTGARTS,
       7
                                                                                         having been first duly sworn, was
       8
                                                                                         examined and testi fied as follows:
       9

 10 EXAMINATION
 11 BY MR. LEVIN:
 12
                                                                         -
                                                                         Okay.
                                                                                                                                           - -- . - .------ --..
                                                                                                              Sta te Y~.Ename_lo.L.ih.~:re,ord/_p'le0ael.
 13
                                         (lQ.
                                                               --- ---J
                                                ~_ SP.:11 _i_t~J?2:ease.:
 14
                                                                                                                                                                                                 ------ - --..
 15

 16
                        .    '---
                             -----    .   -   -  -   --     -   -
                                                l A. E-l-i-o-z-a--r first name, ê,n? ~t--aUle I
                                              ----
                        ¿:utgc:r_ts, G-i::_t -g_-a - r-t - s:
                                                              ~                                                                                                                          .
17
                                                                           -------- - ----
                                              C? ~~~d ~~~u are ? med~cal dQ~torl '
i 8
                                                ¿ A=. ~- N-o ~ _ r ~~ ~den tl.S!.,)

19
                               Q. Dentist. So Dr. Gutgarts would be an
20                        appropriate salutation? Yes?
21                                                 A. Yes.
22
                                                   Q. Have you given a deposition before?
23                                                 A. One time in my life.                                                                                                                 It was 25 years ago.                                                        It
24                       was
25                                                                     MR. NEITER: You answered the question.
~"'--,-' 'l~ i'~4;;:';"A ""''':?';'":.:''"'~~_'!:",p~:,',;:\','-''i.'';'?i,)':",,:::: '-':~; "'t';('~'\:,-"à;: 'i,';':;;:;h",~_' "-,x/,.:~-,;";:,, .;",-;-_,~"',,,"..._ .""'i,-""',',,,::' 'W'''''',:'~'-;\: :;~';';d"'.;":"X"....Ç_l~j"" .'~f~;,:
                                                                                                                                                                                                                                                                               ~'''''~


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                                                       ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                                                        Page 5
      i           THE WITNESS: Yes.
      2 BY MR. LEVIN:
      3
                               Q. Okay.                                           So it i S been a long time so let me just
      4
              remind you of a few of the things that will go on today.
      5       We call them the ground rules or housekeeping.
      6
                                                  The person to your left is the court reporter.
      7
              She i s going to take down everything that's spoken.
      8      Accordingly, your answers all have to be spoken.                                                                                          She
      9       can't take down a nod of the head, a shrug of the
 10           shoulder, anything like that.                                                                               She has to actually hear
 11           you speak the answer.                                                                               Everyone has a tough time with
 12           that one at first so I i m sure it will happen to you as
 13          well.                      Second, if you give an answer, and we discussed
 14          this a little bit before the deposition before, I i 11
15           assume you understood the question.                                                                                If you don't
16           understand the question, tell me and we'll try and work
11 it out. But if you give an answer, 1'11 assume that you
18           actually understood the question. Okay?
19                            A. Okay.
20
                              Q. Like that, you need to make sure that you speak
21           that loud enough so that the court reporter can hear
22           you. And there was another nod.                                                                                 So say okay out loud.
23                           A.                 Okay.
24
          Q. Very good. That's a practice run. If you need
25 to take a break, refreshments, washroom, let me know.
               . ... i-_'~"ùii-""è.,t£_'_:è""'--~.,~',jÍÄ;,~:;",...;.;,o;:-;_w",""o!:', :",-",~'-"'~--'---;:':o1i"4=è=


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                            ELIOZAR GUTGARTS - 2/24/2011

                                                                                           Page 6
      1
                     A. I don't want a break. I want to go home.
      2
                     Q. We i LL go fast then. I talk first which most
      3       court reporters don i t like.           But all I ask is that we
      -1
              not take a break wi th a question pending so that you can
      5
              talk with your attorney.            Your attorney will make
      6       certain obj ections . Wait for him to make his
     7
              obj ection -- I i m certain he i d appreciate that  and
     8
              then we i 11 decide whether or not you're going to give an
     9        answer.
 10                       Any questions?
 11                  A. No.
 12                       English ls not your first language; is that
                     Q.
 13 correct?
 14                  A. Correct.
 15
                     Q. What is your first language?
 16                  A. Russian.
17
                     Q. And your second?
is                   A. Ukraine.
19
                 (~. _ Añd nC?v7 -i~r~.9_.t9.v~YOJ2 _ i2e,§;~_. in~_the .U-~ ited'
20           ~t_at~~ 1
21
                   Q~_.32_ yea~-;. _~ -~e h~~~_197 J .:~d
22
                     Q. If you could just speak up a little bit louder,
23            A, to make sure the court reporter hears it all and, B,
24            I i mali ttle hard of hearing.            So if you can speak
25            loudly, that will be helpful.


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                     ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                              Page 7
 1                  What is your current occupation?
 7             A. Where I live or working?
 3
               Q. Occupation, not residence.                                                           Wha t do you do for
 4 a living?
 5             A.   For a living, I work in dentist and my
 6      occupation is Hollywood, 77 -- 65778 --
 7                  MR. NEITER: No.                        You have to answer the
 8      question.      Don't look to Mila for the answer.                                                              If you
 9      don i t remember the address, you can say you don't
10      remember.
11                  THE WITNESS:        I don i t remember.                                                 That's 75 --
12 758 -- no, seven -- I don't remember.
13 BY MR. LEVIN:
14             Q.   Let me try this:                        7865 Santa Monica Boulevard?
15             A. 7865, right, Santa Monica Boulevard.
16             Q. In Los Angeles?
17             A. Los Angeles.
18             Q. And that's your business address or home
19       address?
20             A. No, that's business address.
21           ß'Q-What is YOu~ ~ _ add.:_e.,s_: ./
22            ¿A. 7984 0C:~~.:~ _D_riv~..1
23             Q. I don't know that we got all the numbers right.
24       What were the numbers?
25             A.    7984 Oceanus Drive.
                                      ,"'~""'/_~..~', c-.- .à~- .,,,/-~Wi;,~"~~,,s.,,, ;AA.;;''-''''



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                                                                           ELIOZAR GUTGARTS - 2/24/201 i

                                                                                                                                                                                                                                                     Page 8

 1
                                                 Q.                   Oceanus Drive.
 2                                               A.                   Oceanus.
  3                                      ~Q.                          And tlia t'-s-inwlia C-ci ty?
                                                                                                           -- --
  4                                          iA.                      Los Angeles.
                                             L
  5
                                             I Q. -
                                             ..   And
                                                    . how
                                                       .- long have-you
                                                           ..~--        lived there?
                                                                      ---
  6                                          i A. I live 25 years-:-'
                                             .._- - .. --..
  7
                                              li'-2r:c:~hO do you ~~ v:._ there- wi tn?-__ Whõ dõ yõui
  8
                    .. __
                    :live     .._
                          there with?.r
                                      --
  9
                                                                     --live...
                                                                --else
                                            Ll':._ W _i t h _Il y_ ;1. fi~..?
                                            i Q. And does anybody              - ---- at;_that_
                                                                            wi..You
10

11 laddress?
                                           ---
    ~_,i .---
12                                                               ,_
                                                                 rMR. ________        _____-----
                                                                      NEITER: -Jü"t a moment-.          __II
                                                                                               - I'm going---
                                                                                                           to --
                                                                                                              '
J3

14
                      ~- ----------------- -- --_.... -- --
                      ~5ject to thãt-question. I understand some Reople may ?
                       -t.hink it's preliminary-;butthat Tñvad-es- my -client's
                       ..  -----  ---  - ---- - -- ._--     - -- --   -== -=..,
15

i 6
                       .._--
                       Figfit of ----  - -----he---
                                 pri vacy-who-        - --- -----
                                                 -ii~~-~-itl-;.          ---
                                                                I wili instriic:tJi.i!Q ,
                      :n?C ':0 _ ~nsw~_: ~~!t quesl:r~m- on th~ .1~o,:~dsof pri vacy. _/
i7                    BY
                      ~--                 M'C-iEVIÑ:-
                                                                                                                                                                                                                                                                      ..
18
                                               \. -- - - - -
                                                   Q. Are you following your-ttorDey' s -advìce
19
                                                     - --- .
                                                  iAo Yes.~
20                                              IQ-:----~~.;:;dr~f~~-i;gt; -;~;~r the question? ;
                                                '- _. - - - --- -- --- - - - - - - - ~ =~ ~ ~ ~
21
                                                  ..-- .
                                                   fA. --;~
22
                                                 4___      _  _   _.   --..
                                                 rQ--Who isStanleYStei-;-? - i
                                                         ---  --- --  -------
23
                                                   '- _ _ __K . _
                                                 ~. My wife younger brother. '
21

25
                                                 lQ.
                                                 ..---Your
                                                       -- - wife's
                                                            _...   yoü"ger-D'rõEner?-'                       __~~::~~__
                                                /2. - Uh- hu.h. J
.;;..';~..,n;, ~ ,.:;,~..,:,*,è.~_','",,~_,,_ "." -, ,,"~i::.. .,.,-";:;,~~.~;:-j-'.~.'-,,:,,,.,.~,,.;',    ","",,__-"ú~:-:_,~';_~i,;;;,'.,:,,::.c:h.:. :;':"~"';'-':'___%':"r"'&";"""""ò',:'_:i"j,;',.'.~.:.:,cR ~~¡("~')"'4-\"~"'''A_;,,-.,;:._',;M-'''':;_.'':~''';'~-'''';''';t,,,_,,:,,.:,y,,,-,.,+=,,w.,x,'~::V ." :,



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                     ELIOZAR GUTGARTS - 2/24/2011

                                                                                                                                                                                                                    Page 9
 1
               Q. Yes. And he also goes by Slavik, I believe?
 2             A. Slavik.
 3
               Q. First name Slavik?
 4
               A. Slavik.
 5
             KQ. Wh~n__~ _the _fir_st~ti;~~t_b_a_t~.y.~~~. met_ i
 6
        t.Slavi-~ ~teinT.~i
 7
              CA '_~_YEf~~;-~g.0.;:1
 8
               Q. S9 years ago?
 9             A. Uh-huh.
10
               Q. Yes?
11             A. Yeah. He was 10 years.
12
               Q. He was what?
13             A. He was 10 years.
14
               Q. S9 years ago he was 10 years old?
15             A. Yeah, he not me.                                                            I was 18.
16
               Q. So you have him at 69 years old right now.
17             A. Well, my wife was 16, Slavik was 10, I was 18.

             llQ. OkaY:Ha~~~~vik _ e;~r-~ive? with- you? r
18

19            ~~_~~ i:~'Cery _ go;d--;i-th me. J
20                  MR. NEITER: No, no, no, that was not the
21       question. I'm going to ask the reporter to read the
22       question, and I'm going to as k you to li sten to the
23       question.
24                 MR. LEVIN: I could ask it again.
25                  MR. NEITER: Okay.
                                                                                                           ;""'''''~'''_: ,.;,,,,,,_,",,c.:. ;-'ù'=" ..¡-: "-''-''j.,.. -"i-;,'~-",;/-';__-_V-;;.:;£:::ir"";;;,';;":M;",':,'ê'~"i;;~
                           "'=""..,;'_'.;-~k';_j.'~'i;.';c;fu;;~'~';;..,;",:~:.:,;;';;:b;S,:.:,,':~..'~;.,_.,,~~,.'


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                                ELIOZAR GUTGARTS - 2/24/2011
                                                                                                         1.

                                                                                          Page 10 i
                                                                                                         t
      1
            BY MR. LEVIN:                                                                                :~
                                                                                                         ~
                                                                                                         J
                                                                                                         .;t
      2
                   Q.          Has Slavik ever lived with you?
      3
                   A.          Live, no.
      4
                   Q. Do you know where he lives currently?
      5
                   A . Lives currently?                                                                  j
                                                                                                         l
      6
                   Q. Where does he live now?                                                            iJ


      7
                   A. Who?
      8
                   Q. Slavik.
 10
      9            A.

                ft-? .
                               I don i t know.
                                              -- ----
                                  - -------::.. - - - - - £..
                               When was the lašt - time 't0~,,~e _s~er. 0.im_? t ,
 11
                 l II.
 12
                 - --   --- .. Last time I s~e _~_i~ ~.c:yb::_ .!e~._ h~m _cC?up~e ~~r's_ í

           .. -day--
           Jevery      .. -hospita-iãnd-
                   Marina-in   -_. - ãtEer-
                                         - --two-or-three
                                                       ".
 13
          i~es. _..~.:- -?r thr~~- ..t~..~~( ã-fter ~~!_~ña _in~2:_ospi ~al.- /



           '- - - = - - .._-
 14       ¡Maybe onc-e a mõ-n t' l
          .. --- -.-. --
 15
                  :-Q. okãy :-ef--më--t"ry-anä--i-s-olaeeYheaa-Ces~- .
 16
          '----- -------
           -ri ttle bi t ~---You said two or three times a week whëñ '                                  ~




             ~-       ~-
                                                                                                        ,w
 17                                                                                                     :~
          I--
            Mãr-iña
                 - -= was --iñ--the
                       - =-         - hOSRi
                              =- '=!!     __ta-i?
                                              - _.-                                                     t
                                                                                                        I
 18              'A -- -Üh-huh-: Not thre;-Um-e7,- every day. Every day ,j
 19
          \. -- - - - - - - -- --
           beeã-use Mar i~a- ~~s -in v;;ry- bad condi t ion.-
                                                                      ;",
20

21
             ..- -- .. - - -
               'Q:- - Marïna, "''f-caurse, - ìS'ho?- Who- is-Marina-?- l
               lÄ-- --Mã'rina my sister-=in-law.- -Mariiia - yöu-;;g brothër ~ ij
                                                                            ,.
22

23
          '-- -- ------------
                   - - - - - -.-----
                                - - --
               ". - - - - - - - - - - - __ . =="' !! ""==- ..
          Jw-i:Ëe.-'Miïã isyõung broth~r wife -:- My-~Tfe MTiã:-'

24
                 ~- - -- ----
                           - - . - ~ --- - -
                 id.- Õ kay. I t's Mil a i s you n g e r b rot her's wi f e -?- ;
                 ,A.
                 .. -Wife.'
                      ___--                - --_. -
25
                I Q-.-Sõ -Si        a-vi
                                           -     -J
                                           k i s wife.

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                                                                                Page 11
  1                                                                                             i
              j': _ ~_l a 7 ~ k 's w if e ~ ;                                                   j
                                  ---- ---                                                      §
                                                                                                ~
  2
              45. So you would se~_him..in_ .the ,bp_s.p:\tal two qr_1
              .... - ~ - -- -~..- -- . - ~ -- -
                                                                                                l
                                                                                                ¡
                                                                                                ¡




                                                   - -
                                                                                                i.
  3
                 ~ ~!"''~_. ~-~.-!"
       '-tliree times-ã - day dur-in-g th-e tirñ- she- Wã-s in - the-                           l
                                                                                                E
  4
        "'hOŠp-~ ta~2-'                                                                         i
                                                                                                ,I

  5            Ã~Ñõ,
                -    - three-times, three          times once a day at ~h~                      1
                                                                                                )




              t._ --------- ----
        timeõr- ;urg.~-ry._ i
                                                        .. -- ----- -
  6                                                                                             ~,"'

                                                                                                ~

  7
              ;Q. Okay. ~nd when-did she have the surger~? ~                                        J
                                                                                                 1:


              ~~A.
                - -- When?
                     - -----i
  8

               -- - --.
  9
              '"Q.---
                   Yes;.
                                -- -----_.. - - ---
10
              ..--- -----
                     -- - _.-
                            ------ ------ -- ---
               A~~wo months ago, three months ago.                     -----
                                                                    More?
11             Q . We 1 l, a 9 a i n - - -- ,
              ..- -- --- -----=:i::
12

13
               - - -I don' t rem~mb~J exactly...
              :A.
               (Q~. - okay;-rlne-:
i 4



15
              -~-=_i_~e1i~
                  _.. - ......    -   --   -_.
              I-A-:-Couple .of -rñõñffis -ãgo-. -- rr
                           yo_~ alsa 'tfiensa-íd- tha.!~ y-C2~ h-ad~- seení-
16

n                       -- --- - - --- - - - - - .. _..
        :-him maybe -t:wõ--ãrfhreë timeš;- but -correct me if -1' m
        .. --- --.- .. _.. -_.- -- --- ..----
        I~~g;-slñce the hospital; is that correct? That you've
18
         --     ..     ..      .-------              ------.
        ;šeen Slavikt;-o- or three times .sinee the -hospi tal? ·
                   - - - - - - - - - - - .. - _. - --- -- --- -_.. _.. - _.
19             jA.
               ..- Y~L:
20

21
              ~    -.   -  -   -  !!---_._-- ----..
                                                ---   ----   ~   -
               .Q-: -Sowhe-n was the-iã-st time that you -have-Seen ;
        :ñim - iñthe -fiõšprt-aT? In other W?.Eds, when did Mãriña
         - - - - -- - - - - ~ - - --- -
22

23
         .. -..
         J1eave t-he- hospi t-al ?
             !! _                               _____ --- --
               j A-'-- Aft-er -s~rge~-y-:-~f-ter three-day after surgery.-
24             ,Q. Thr-ëë-
                ----  _. days afte~ -.:y~g.:rY?_-J
25
                l\~~~sJ
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                                                                                                                                                                            Page 12
 1


 2
              ~--- -- -
              .-A-: Few-mõñths ago. /
                                        --~
              ~SÕ- ã - feWmontfíš-ãgo? ,.

 3

 4
             rQ. -- -crõn i t-.-eei"to~be too R~ecise. Just geñe-ral-
                                                             .
        ~li~_e.- .Šo two- ~r ~t-h,re~ moñths ãgõ M-arina left t~e
                                                                                                                                  .-------
 5      ñošpïtãi~ and you've seen Slavik a few times since then?
        4-.._   _ _ _ _ _ _.. _ _ _ __ _ _ -. - .,
 6

 7
                - -- --- ~----:~- -- ----
              ¡Ã-:- Oh-hu-h-,- absõlutely ri-g~h_t. (

 8
         --- æ,'__u W~_siid_y'ou see him those thre~.-iIles _sl0Ë I
             -- - ----
 9
               ---
        t.h~ t:ospi ta 1 ?- _'
                       What?
              ¡ !" .
10            : IT: ~here diër-ýõ~ see b.im tliose three times that-JI
                                                            . ---
11      'yõ-u
         --- "!saw  him- sinc~
                -..=._-.-_:.    theho~Qi-tal?
                             - ---:. ~ -- _.. -: ·-
                                                 -
12             A. I see him~in- .-.~""~-
                                 Marina 1 ---~---
                                           s room.
13            fÓ. At the hošp'ltãT? /
                         --- ___.c __'
14
              i-Ã:.~-h.?~?it~l. TI
15              Q. 1'm talking about --
16              A.     In eme rgency room.
i7              Q.     Okay.
18              A. Not emergency.               This is -- special care uni t.
19              Q.     Intensi ve care?
20              A.     Intensive care unit.                                    I'm sorry.
21              Q.     You say that you've seen Slavik since the
22       hospital; correct?
23              A. Correct.
24
              rr~_2.f-!e!_ M_a./in,: l~ft ~ -h;'~p-i tai:":~_o.u~v_;-=s.e.e~r:- h~:
25       sinee the~orrect? 7
        ..--- -- - - -
                                          ::,,, .._:.;l,~';,,,,;,;,~:;,,,':~-;;iX~'j:;,';~"C,:l'''.:;...;,:,.,:_,'_'i'. ~~":e;';'i,,,~.~.i'l.,.~.,ri_~'~'Ä_.f~-'-,,'~~A',';_ "/,';4'\": ,,.I:~' '/;''''


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                                                                                           Page 13
      1
                      i A. I see him after hosQi t.?.LU!iay'~Q.c_e_a_J;eek_'
                      .. - . - - -- - -:- ---- ---.. ..-
             "-he
      2
                    cÕIetõ _~i~~£fi.c_e s_Ciy_hi. _ _Where_ _do_y.ou__1i~v.e_?___In
               --
              --
      3       'Los   Angeles?
              .. - -- -- -- - --.     - ~
                                             .
      4
                     5"-150- I - i i ;e in Los Angeles?           No, 1_ don :"t.          I'm-
                                                                                           --             ,I
                                                                                                          1

      :i
               ..- --------
               f rom chlCãgõ~-                                                                            !
                                                                                                          i


      6                -A--~rõm -Chicågo? I                                                               ~

                                                                                                          i


      7
                      .. ~ '-- Y ~ s -:-. : _ I
                      JA-:
                        _ .-I--wõrk-
                           _ __ _ _ in_ Center Los Angeles, añd_ he
                                                                  _ come to my;'
      8
                                         _ _. ....  _ __.. __       _ __ .. _

 10
      9
              -- . - .. .. - _.. - -- - - -- ---- - - ---- ------ -
              ot:'icë. like my other neighbo-r-, relatîves, once a week, ~

              l~nee-~wõ"weeksi _once a mO~t_h;-t_wo times jn--w.. ~?.:~hs,
 11

 12
              --
               teeth for cleaning.
              l. - - - -- -
                                                   I'm
                                                         - -- - - _.. ." l
              · once a-month say -hi. . .Sometimes he has problem wi th his
                                                   _ _ a__dentist and..he's
                                                           _ - - ..         my_patient
                                                                        -_ __          ¡
                                                                                __. -r !
13
              "50
                - years.                                                                                  1




14
                      L~': _An_~ -s.oy¿Uãy .y~u see him :;-tfien - õr:~_~_~lOñtfi? ;'
15                    ~Ã. ---
                      ".   Once
                              - a ----.
                                  ~onth, once
                                           - in
                                              --two-----.
                                                    months.
16
                      j Q:_ _Ar:~ _y-o"G-~~y_ he co~_es__b.'L !he- Offiee._ ~~ say_ h_i? J' r
17             Yes?                                                                                       ~
                                                                                                          ,ì
                                                                                                          1
                                                                                                          I
18                    lA.    - Y::s..- Y: ~-'_ J
                      .. -                                                                                !

19                             Has he ever worked at your office?                                         I
                       Q.                                                                                 ~

                                                                                                          i
20                     A.      Yeah, he work in my office maybe 20 years ago,                             ~
                                                                                                          i

21             30 years ago.            I don't remember.       A long time ago.
22                             So it's been about 20 or 30 years since he's
                       Q.
23 worked in your office?
2rJ                    A.      Uh-huh.
25                             Yes?
                       Q.


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                                                                                                                Page 1 LJ
      1
                     A. Yeah. And he worked maybe one or two months 10
      2
              or 15 years.
      3
                     Q. I'm sorry?
      4
                    A. A couple of months he work in my office maybe
      5       10 or 15 years ago.
      6
                    Q. And not since. No?
      7
                    A. No.
      8
                    Q. Has he ever maintained an office or had an
      9       office at your office where he wasn i t working for you,
 10           but just working out of your
 11
                         MR. NEITER: Excuse me.                 Tha t was a compound
 12           question and I don't know what it was that he was about
 13           to say, but I think it would have been impossible for
 14           him to answer that compounded question.                                          I'LL ask you to                 ,
 15           ask a single question.
                                                                                                                               ;

 16
                         MR. LEVIN: That's fine. I caught myself
 17           trying to make it simpler as I was going along.
 18                    THE WITNESS:  Yeah, don't
 19                      MR.   NEITER:    That's okay.                  You               just wait until
20           he asks you the question. Then you can answer the
21           question if I don't obj ect.
22                       THE WITNESS:      Yes, sir.
23 BY MR. LEVIN:
24
                    Q.   So has Stanley ever done work out of your
25           office where he wasn i t working for you?

                                                       ,~_¡",n¡,j(~~\:',~,w_'_"'~ --""':~N,¡(¡¡¡;i"~;o'£':'n-


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                                                                                         Page 15
      1
                     A. Not for me, for office. He was like driver,
      2
              paperwork.         I don't remember.       It was long time ago.
      3
                     Q. This was also 20 or 30 years ago?
                                                                                                        t,
      4
                    A.     Yeah.         20 or 30 years ago.                                            ~
                                                                                                        t-
      5                                                                                                 I
                     Q. What about in -- strike that.
      6
                         lI~-:ë_- yoü aware- .tha.t -St~~;;l~y. :'~_nt - to. j afi for ~ I
      7
             tl!rIÕ_d :õ':(yime?- J
      8
                   i A-' Yeah: _ ãT~:_r-_j ai~ he-.Wõrk -maybe _~_.çouQ.le--_
             1___ r
      9 'months-.
 10 Q:- . At _. yo u- r 0 f f ice '? ,
 11                ,A. Uh-huh. t
 12
                    Q. Yes?
 13
                    .....- ---i
                    iA. Yes.
 14

 15
                - -iQ.. - -Wfiat - did -he
                     -
             '.. - --_.._--
              office after jail? I
                                           do fõr acouple
                                       - - ----            of moñths at your ~
                                                     -- - --._----
 16

 17
                            - ----_. ---- - --
                    A-: - Dr i ver~ -paperwork~- elean offiEe.
                   l   _ __ _.._______
                   -Q-:Wfien--Y-au                   . _ __aõiñg?
                                   say dri\le-r, what--~,lås-he ,.
 18
             ebviõusly- dri ~i~g!. -b-i.L':ha! .wa~ h~ ..ri ;ing:
 19
                   'l(P;.
                       _ _i_workl'ñgwith
                             __ __ _ -: _ old
                                          ._ _~nd
                                               ___ill,
                                                    _ ____
                                                       sIck _________
                                                            patient, and'
20           ~he drive liomë~ -b,Ei.Q9_.._e._Rat)ent_,_Sick_p_atien.1'2¥_ ,
21           patient.
             .. . - --- !
                             - -- -
22
                    Q . You sa i dol a,__~.;.Lc k 0 r i 11..12 at i en t ? ,


                   "- -----     ---- - - -- ---
23
                   !A . - _ ß i c k. ,
24                 !Q: Añd he would drive them to or from your office?
25
                        -.- -- ..
                    A. Yeah, help.


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                                                                                                                                                                                                    Page 16
      1


      2

      3
                  '- - --- -
                   -------
                   Q.--Help you? - -
                 ~ Help m-e wi th ..he. p.ati.ents ._.L_w~oit_QlJ..e
            seco~~ ~loor and h-e h~lp me. £.J2.~y. him. I Ray hi.0'
      4


      5
               -----
            ..check?
                                   ----------
                , Q ~ - Ãnd when you -paid hi~, did-you pay him cash or



                                   --- -- - J
      6           !Ã._____
                       Check.
                           __I
      7
                  l.Q. And _ the . che.:~s_ that YS1P3jd_Qim _wi t~~:: '
      8
              -- ----
            i thëy written fr2iYoy¡ _p~~0Qal a~cD~nt_or_youT_.bD~jDes~
      9     'account?
 10
             -, 8-. . Busi-ness:.j
 11
                   Q. And the business account is in what name?
 12                A. My business account?
 13
                   Q. Yes.
 14                A. Dr. Gutgarts Dental Center.
 15
                   Q. Dr. Gutgarts Dental Center?
 16                A. Yeah.
 17
                   Q. Is that a corporation?
 is                A. Now it's corporation, yeah.
19
                   Q. Now it's a corporation?
20                 A. Uh-huh.
21
                   Q. Yes?
22                 A. Yes.
23
                   Q. Was ita corpora tion when you paid him?
24                 A.               No, well, it was before, before corporation, it
25 was a regular dental office and that's it.
                    "''''''~''''~~:''"';¡'''''):~'1;A...;¡-._~~'__'.:.''':n'''''_'';:_::;:'~,.:,'"¡.,t*,-ü",;,,:'~',(--.;,,;i,..'-';-_~.._.o,':.,;~'_:";":':';;.. ....6~'t.:'"


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                                                                                                                                                                                                                       Page 17
   1
                                              Q.              I think they call it in Cal ifornia a
   2                  professional service corporation? Is that what it is?
   3                       A. Professional corporation.
    4
                                              Q. And that existed before this period of time
   5 that you were paying him after he got out of jail.
    6                                        A.               I don't remembe r .                                                              It was 10 or 12 or 15 years
   7                  ago.
   8
                                              Q. That he got out of jail?
    9                                         A.              I don't remember.                                                                I don't remember before or
JO after.
11                                            Q. Okay.                                  So the checks that you used to pay him
12 came from this corporation bank account; correct?
13                                            A.              It was not corporation.                                                                                       It was dental office.
14                    After we open corporation.                                                                                               Maybe ten years ago or seven "
                                                                                                                                                                                                                                       ¥
                                                                                                                                                                                                                                       .
15                                                                                                                                                                                                                                     i;i
                       years ago.                                                                                                                                                                                                      "


16        Q. When you wrote him checks after he had gotten
17 out of jail, you said that they were written on the
is account of Dr. Gutgarts Dental Center; correct?
19                                            A. Correct.
20                                             Q. Where was that account held?
21                                            A. Account what?
22                                             Q. The account that you paid him out of, where was
23 it?
24                                                            MR. NEITER: Excuse me~                                                                                         I'm going to obj ect
25                     because I don l t understand the question.                                                                                                                                       Do you mean
';~'-~f",?;:*,"'L"".~".,;., ;;."H~f,~'-:"1-"----,- .'~..i""    .,,','."~;':;':'%",~.., ~_''''__m - j,,,,.: ~~..;:,,X~_:_l.~,,_,,'_$'i"~;:¡: : ~',~",:.':'."; ¡,~~",',. --oXN.._N:~r,-,,_;,,~~'--"'f


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                                                                                                                                                           Page 18
      i the name of the bank that the account was there or the
      2
           address? I don't understand your question.                                                                                                                       ,

      3              MR. LEVIN: We can start wi th the name of the                                                                                                         iw
                                                                                                                                                                            I
                                                                                                                                                                            %
                                                                                                                                                                            f
      4
          bank,   but I'm looking for who held the account.  That's
      5   usually the bank; right? Or no?
      6
                      MR. NEITER:                 I'm not familiar with the phrase
      7
          who held the account.                       But if you are asking him about                                                                                    - 11-
      8   his office's bank account -- bank identity and the
      9   location, I will object on the grounds of his right of
 10       pr i vacy and instruct him not to answer the question.                                                                                                    If
 11       you i re asking him --
 12                   MR. LEVIN:            So with respect to an account that
 13       he used to pay the judgment debtor in the case money
 14       with a check, 11m not entitled to know where that money
 15       came from.
 16                   MR. NEITER:               Ten to 15 years ago, that is
 17       correct.     I don't know if you're entitled.                                                                                       I'm not
 18       saying you're not entitled.                                              I'm saying you i re not
 19       enti tIed to get that information from Dr. Gutgarts.
20                    MR. LEVIN: What was 10 or 15 years ago?
21                   MR. NEITER: That was when he testified, I
22        believe, Stanley Stein worked for him.
23                   MR. LEVIN: No, he testified that Stanley Stein
24        worked for him after he got out of jail, but didn't
25        remember when he got out of jail.
                                   ";¡,,.- .-,:.i~¡::i*z,v.~"j;::'.;...,'(~"'\;~."-,--" --""--:~";~;:~¡:;"~",:,:,,,~,,-,,,,~'-',G'~'


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      1
                  MR. NEITER: My obj ection stands. My
      2 instructions stand.
      3 BY MR. LEVIN:
      4
                 Q.   So you're refusing to tell me where it is that
      5    that bank account was held on the advice of your
                                                                                                  ;"
      6    counsel?                                                                               :~,

                                                                                                  ~
                                                                                                 4
      7                                                                                           l
                 A. One more time, please.                                                        f
                                                                                                  i
      8
                 Q.   I asked the question as to where the bank
      9    account was held that you drew the funds from to pay
 10        Stanley Stein. Your attorney obj ected and instructed
 11       you not to answer.
 12                   Are you following your attorney's advice?
 13              A.   I'm following.
 14                   MR. NEITER: As a matter of fact, to shortcut
 15       this a little bit, I'm prepared to enter into a
16        stipulation that when I instruct my client not to
i7        answer, he or she will not answer on the basis of that
18        instruction.
19                    MR.   LEVIN: can't stipulate to that. Your
                                      You
20        client would have to stipulate to that.
21                  MR. NEITER: No. I proffered the stipulation.
22        You can accept it or not. We don't have to determine at
23        this sitting whether I am -- it's within my province to
24        stipulate for my client to something like that or not.
25                    MR. LEVIN: Wi thout having done the research on
                                                                                                   'i
                                                                                                 ,;"if


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                                                                                                                                                                                                          Page 20
        1
                          that issue, with all due respect, I'll just ask him that
        2                 second question each time. It doesn't take that much
        3                 time. You might be absolutely right, but it's just
        4
                         unusual for me and I'm from Chicago. We do things very
        5                di fferently in Chicago.
        6
                                                                 MR. NEITER:                                           I only know about the voting in
       7
                         Chicago.
       s                                                         MR. LEVIN: We got a new mayor. That's all
       9 that matters.
  10
                                               Q. So Stanley drove patients, ill and sick
  11                    patients back and forth to your office and helped them
  12                    up stairs. You said you live (sic) on the second floor.
  13                     I think you also said he did paperwork in the office.
                                                                                                                                                                                                                                         ì
  14                    What kind of paperwork did he do?                                                                                                                                                                                ,t


  15                                          A.                 Paperwork? Put one chart from this table to
  16                    this table, from front desk to operatory. That's it.
  17
                                              Q. SO like filing work.
  is                                          A~                 It's not filing work.                                           It's help like -- it's
 19                    not filing work.                                                                                                                                                                                                  ì
                                                                                                                                                                                                                                         ~
 20                                                             MR. NEITER: You 1 ve answered the question.                                                                                                                Let'          ~



 21                    him ask you another question.
 22           THE WITNESS: Okay.
 23 BY MR. LEVIN:
 24
                                              Q. What else did he do for you?
 25                                          A. Hum?
 ~-ó;,);,'E';;;¡iè:t"i&~"~~jf,,,~,.,,,;3:¡j*,t;,*):k_';;'~K~~?i'_';i,__.;;'-'"""ø,: ~'_~~'¡;;:""~M'-);;,ü:%""ti4')""
                                                                                                                                     '~-". . ;;-" "'i"~C: ':~I.";.i-::;';"7.i';;::-::;,:_:.:''''-,:il;;~'¥,;t.;';,&''",lc..,::,_~:,;,'


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                                                                                                                       Page 21
        1
                                                   Q. What else did he do for you after he had gotten
       2
                           out of jail?
       3                                          A.          I don't know.     I don't know. He didn i t do for
       4
                          me nothing.
       5
                                                  Q. Other than the driving and the paperwork?
       6
                                                  A. It was maybe couple of months. Maybe less.
       7


       8
                                             EQ.- -~~u£t_ did y;-u Ray ~~j
                                                  A. Maybe 30,000 a month, 50,000 a month. What are
       9
                          you asking? I remember how much I pay? 8.50 per hour.
  10                                                          I'm sorry, we went from 30,000 a month to 8.50
                                                  Q.
 11                      per hour?
 12                                                           MR. NEITER:     I think he was joking wi th you.
 13                       Dr~ Gutgarts, I'm going to tell you do not joke because
 14                      whatever it is that comes out of your mouth goes in
 15                       front of the court reporter.                                   He asked you how much you
 16                      paid Mr. Stein.
 17           THE WITNESS: Minimum. Minimum. Minimum--
 18 BY MR. LEVIN:
19                                                            Wage? Minimum wage?
                                                 Q.
20                                       ~A.                  Minimum_____
                                                                      wage, yeah.
                                                                              ii!!   .
21                                                            And-fniS-aS-for two month~? ,
                                            (Q.
                                            ..                                                  r

22                                              A.
                                          ,'"                 ~Yb:_two _mo~rh~:~h-re: ~onths.J
23                                                            Has he done any other work for you since? Has
                                                Q.
24                      he done any other work for you since --
25                                              A. No.
L-i~';;'l".';,';""Á;~i-;.~~f!,mèi.-¡;w';l,;lk,'",,,'h:~, .,



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                                                                                                                                                                            Page 22
        1
                                                       Q.                 -- that two- or three-month period?
        2
                                                       A. No, nothing.
       3
                                               ~9' ___W~~n ..c:~.-!~e--last time
                                                                                                                                               after Marina left the l
       4
                       :ihospi
                        ..- -- ta~that yõu saw Marina?                                                                                 r
                                                                                                                                           l

       5
                                                 'A.--rsaV: Marina-.
                                                  ..                                      -------
       6
                                Q~Yõu
                                -        saw-hei-äl-fhe
                                      -----         __~._hospital _ana _then --
                                                                             after the
                                                                                    J
       7


       8
                           .. --- - --- -----
                           hë)spítal -when-sè-wëñt hame-ãfter th~ -surgerY-=r
                                                  /L _ _Y..aTi:: a..fter t0e j"~sp-i t-~i I saw Marina.
       9
                                                tQ._ -Wh:n_ wàs the- .!a-s-~_Ti~_e? -r
 10

 11

 12
                                              ,        .--_.. -------
                                               I Ã.- -Maybe
                                                     - ___ co~pie--ofw~eks
                                              ..... --_..-
                                                            - - - -- - - -- - ~go.
                                              . -Q-.- Where did -you see her?
                                                   'A-- -rri iñy office.
                                                               ---- - --.
                                                                              - - -I

 13
                                                ..Q-:_..
                                                      What
                                                         - -wa-s
                                                             -- she
                                                                 - - dõiñÇj
                                                                      - - - íñ -your - oftice?~ /
                                                ß-: -Cleaning-t'ëeth-:-Tcfõn-'
                                                                          -- -t-_------
                                                                                 rememb-er.  -- Or --say hi.¡
 14

 15
                                                i,     __ __ - _---__               _ - ---.._-.        --.
                                                 í9~ Does she oft~~C;9me does_~n~£omeio your
 16                        ó£fice-------
                           ..     to s~-yhi? --
 17
                                   _--- _..--_ -=.: - __ -= _ - = ::
                                   'iFf'--NEITER: -JG~t a -mornent. I'm going to ¡
 18

 19                   ~s- ñot-reia-te
                      J..  __ _____ to-
                                        ..--- -- -------
                                      ___~ny--is-~~e-.f
                                           _ ___ _ .
                                        - ---
                                                         ---- ~..
                           objêct on -the grou.!s of J;e.le_,,ance_tQ-tDa..QY.,2tion. It


                        IBY. MR. LEVIN:
20
                                                __- --_t.                  -----    - to---  ..    - -r
21                                                 -rs-
                                                ~---
                                                   Q-:  i -f U'nü'Süai-:r her to come    youl: office to
                                                                    ..
22
                           ;3dY 'hi?
                           '- -- .                                -~
                                                                                                                               ---- . ---- - - ---
23
                                                                    t~R. _N~ITE~:- -sa~e _obj.ectiQn_. _Y911_niay_~ns~,r
24                      .tne-question if it's unusual if you unders tand it.
                       i
25
                           -- _. -i;::~ W;;2'E:~~ ver-; -;sual . J -
,"".'~"::;;."tX'i"~b."~~', -,.'",J;;j/i"¡~';',':y,~Û' ~,_ ';-:';;';;,';i.:¡;;;~~;;~~;;.'.,j."""-"'-"'__;';;r-:;''''''''''_'~



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                                                                                     Page 23
      i BY MR. LEVIN:
      2
                     Q. How often does she come to your office to say
      3        i.
             h. ?

      4
                          MR. NEITER: Objection; irrelevant.
      5
                          THE WITNESS: I never counted how many times.
      6 BY MR. LEVIN:
      7
               Q. Is it every day?
      8
               A. A year, a month, maybe couple of times, couple
      9 of times a month, once a month.
 10
                     Q. When she last came, you said she came to get
 11 her teeth cleaned?
 12       A. I think, yes.
 13
                     Q. And did she come alone?
 14                  A. Alone.
15
                     Q. When was the last time you cleaned Stanley's
16 teeth?
17                   A. I'm going to have to check my file.
18
                     Q. Was that your answer?
19                   A. Yeah, I'm gonna check my file and tell you
20           exactly when, my dental file.
21                        So you keep a file on Stanley.
                     Q.
22                   A.   Yeah, of course, like for everyone of my
23           pa tients.
24
                    ~r: _.Eo y~u ë~:~:.3taniey_~o¡ .-2:e. .s_e~~ces~_
25
                          iM~ l\IE~IYER: __JUS!_~ - minute. Obj e¿t-i~n ;- "


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                                                                                   Page 24
           -ìrrelevant.
           '-.                You~y answer the _quesl..._ ..
           ,---------
                  - --
       1


       2
            .BY-------
               MR. LEVIN: -        ,t
       3
                 J Q-:Do
                      . .you
                           - ch;rge-
                              .. --Sta;iey
                                     -_..- fo..---
                                                the services?
                                                     ----- /
       4
                  Ã-:--.Cha~g-e-mo~ey?
                 '-      -- - ~----- ,
       5
                 ~~-=Yes. I
       6

       7    ,.~- -
               l-_A-' Never ,-Sëëause
           charge
           "" - -- -  for  -- ,
                        - ----
                                                 - - ----
                                      thi~~~l-elati ve. I never

       8
                       c-rvR. -NEITER:    Tha t 's enough.    You've answered
       9
           l~fiequesG~~~:~)
 10         BY MR. LEVIN:
 11
                  Q. Does Stanley have insurance?
 12               A.  Huh-uh.
 13                     No?
                  Q.
 i 4
                  A.    No.
 15                     MR. LEVIN:       I 'ii hand you what we're going to
 16        mark as Exhibi t 1.
 17
                        (The document referred to was marked as
 18                     Exhibit 1 for identification and is
 19                     attached hereto.)
20         BY MR. LEVIN:
21
                  Q.    I'll ask you to review that document.                      I'll
22         gi ve you time to do so.
23                A.    What is it?
21J
                        MR. NEITER:      It's the same one.          Just look at
7.5
           this one, though.


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                                                                                                                          Page 25
      1
                                 THE WITNESS:         I see it.
      2 BY MR. LEVIN:
      3
                      Q. You recogni ze this document?
      4
                      A. Yeah.
      5

              -  ll:.   -  -  -   --_.      -  -  -  .  -   . .   -  1
                  \Q. _This waš~adõ.e~~ëñ't ~t.hat-w~~s~x.ve_d_uPD~~.Y:~llll:_ ~


             land    gave it to you? '
      6
             -iRis case? Someone brought this document to your office:
             L- -=_:: -- :---- -- . - - -_. -- -~. -- --- --_... - - - ì
      7
              ------
      8               A-. Yëah.
                           --- - Sure..   -
 10
      9
                  ----------    - ---  - --  -
                      Q. And this is the subpoena to testify a~ ß ¡
              deposition In civìi-ëase in th~ c~rrent matter. And
                         - - - -_.. --- -- - - - - - .. - - -- I'm- ~~                                                                                      1

 11
                                       ..       -     .      ..
             igoing to refer your attention to the very last page.
             ~_.
             -,produce
              .. --- - ~
 17           There's a list of ëiõcuments that you were asked to
 13                                    a t today' s depos i tion . l
 14                         ~ Did you bring any documents wi th you today that l
                            .. - -
 15          you're        going to pro~u~e?
            .... --- -
 16                   A.        I didn't bring anY_9oçuments becpvsR J _don't
 17          have any documents.
 18                             Okay; .S? let' s ju~t bri~fly rexie~ the list
                      Q.
19

20
            ---
            iand-confirm that you don't have documents resp~nsive to
             .these requests.
             .._---
21
                                -You
                                  - --don't
                                        - .. _h¿ye.   cany_ documen.ts. relating to
22           Stanley Stein.
                 . - -
23                J A.          No.
24                         l MR. NEITER:
                           ..
                                                 Excuse me.       I have interposed an
25           objection to Number 1 under the PQ~sician-patient
                                                                       l,_';.'_'_"""!~' ~-,,~ -.-. ~v~..~,;-~::".¡"';;~;~'"'~di,.,;z;~0'Z'Li"-~,"'",;;;.";,,,


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                                                                      Page 26
                                    .. _.. ii.HIPAA,
             i-prìvilege ;-ãnd, of course,     'i    the federal law, does
      2
                                  .
              not allow him to pring his dental records.
      3      "BY _ MR. LEVIN:
      4
                    lQ. Okay. So~weive verifi~d already that you have
      5

      6
                    - -                            - - . -
             idental records. They're just not being "produced per the
             'instructions of your attC2foey; co_r.r"ec.t?
      7
                    A.    Correct.
      s
                                          =
                   "'-
                   ; Q.   And do you have any other documents in your
     i possession that relate to Stanley Stein other than
      9

 10 dental - records?
 11                 A. No.
 12
                   'Q.
                   ... -- You paid Staniëy Stein money; correct?
 13
                    IA. Correct.
 14
           Q. Sb you would have the checks or the bank
 15 statements that would reflect payments that you made to
 16 .Stanley Stein; correct?
 17               . A.    Yeah, but it was v~ry_ lC2ng time ~go. J
 is                 Q.    It was after he got out of jail.
 19                 A.    I don't remembe r .
20                        Well, that's what you said earlier so 1'm just
                    Q.
21           verifying that's what you said.
22                  A.    I don't remember.
23                        Now you i re not sure it's when he got out of
                    Q.
24 jail?
25                        MR. NEITER: After he said, not when.
                                                                    ';'-l'"_;A--'.-,._"_'l~,.. ,-;i:-,;c--,:,';":,,:~,;'~"':"-'''-i;,x_,,;,:;ji¡:i;'i*;',,,;;;,,-


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                                                                                               Page 27
   1                                   THE WITNESS:    I don't remember what years,
   2                      10 years.                                                                                      \
                                                                                                                         i
                                                                                                                         i
                                                                                                                         i
                                                                                                                         I

   3                     BY MR. LEVIN:                                                                                   i
                                                                                                                         j
                                                                                                                         ,-

    4
                               ß"Q~ -- Pjj_y;u_b.o.;h.e.¡~i.oo_k¡n~g~to- s.§~_wliethe~E. n~t.. r
   5
                    I you had any c.hec_k~ or bank sta,tements thaj:.liflect
    6                    payments that were made to Stanley Stein?
    7                            A.    Never.
    8                           i Q.   You   never looked?
    9                            A.    No.. J
10                                     MR. NEITER: I will point out --
11                                     MR. LEVIN: Are you testifying or objecting?
12            MR. NEITER: I'm pointing out that we had given
13 to you in Dr. Lyudmila Gutgarts T s deposition in 2002, I
14 think it was, or I submitted them to you, copies of
                                                                                                               ;;:
                                                                                                               ,t
15   checks, and I think they were bank statements, relating                                                   i
                                                                                                               ì


16 to the period when the dental office paid Mr. Stein.
17                         Those were transmitted to you.          I have my copy of that.
18                         So I am sure you T re not trying to mischaracterize
19                         something here.
20                                  MR. LEVIN: All done?
::                                     MR. NEITER:     Yes.                                                        ';:


                                                                                                                   l
22                         BY MR. LEVIN:                                                                           ~



23        Q. Okay. So you didn't bother looking for any of
24 the records that you might have related to Stanley Stein
25 because why?
..~~::-.:.t;.,';,,"",,,: 5':


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                                                                                                                                                                             Page 28
      1
                                                   A. No.
      2
                                                   Q. Why didn't you bother looking?
      3                                            A. What?
      4
                                                   Q. Why didn i t you look for the documents that we
     5 asked you to bring?
      6                                            A.                   Documents what? This documents?
     7
                                                   Q. Related to Stanley Stein.
     8                                             A. I don i t have any documents for Stanley Stein.
     9
          Q. You said you would have had checks and bank
10 statements relative to payments that you made to him;
11 correct?
12                                                                     MR. NEITER: No, he did not testify to that.
13                                                                     MR. LEVIN: That's actually what he said.
14                                                                     MR. NEITER: Whatever he said is in the record.
15 BY MR. LEVIN:
16                                                 Q.                   So you can correct me if tha t 's not your
17                        testimony.                                                   You said that you had paid him with checks;
18 correct?
19                                                 A.                   Correct.
20                                                                     MR. NEITER: I'm not going
21                                                                     MR. LEVIN: Jerry, do you have an objection?
22                                                                     MR. NEITER: I obj ect to your repeating the
                                                                                                                                                                                             l.
23                        question and asking him if that was his answer.                                                                                                   His
24                        answer is contained in the reporter i s notes.
25                                                                     MR. LEVIN:                                                       That's not an objection. Limit
..T"':;,;.:';;o;-s,;c;.'_.. :;.~7,":';::;;,'¡','~;¡~';~;;.'- .:::;':'-Æ""'~~5'é;:."-¡;''",','.;;',',k;;;,:,,":,,':;ò;;;;,.,,:'~'¡.~O.


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                                                                                                                                                                                                                                                                        Page 29
       1
                          your outbursts to obj ections only because that i s all
       2                  you i re allowed to do in a deposi tion. Okay? Are we
       3                  agreed?
       4
                                                                     MR. NEITER: Objection; asked and answered.
       5                                                            MR. LEVIN: Not an appropriate obj ection
       6                  especially when English is his third language and we Ire
      7
                          trying to clarify it.                                                                                         If he feels that my question to
      s                   him is an improper characterization of something he said
      9                   earlier, he can say so.
 10                                                                 MR. NEITER:                                                    I'il sorry, was that a question or
 11                      were you instructing me how to conduct myself in a
 12                      deposi tion?
 13                                                                 MR. LEVIN:                                                11m instructing you not to
 14                      interfere with the deposition any further because you i re
 15                      limi ted to only voicing obj ections.
 16
                                                 Q. You said that you paid Stanley Stein wi th a
 17 check; correct?
 is                                                                MR. NEITER:                                                    Obj ection; asked and answered.
 19 BY MR. LEVIN:
20
                                                Q. Okay, answer the question.                                                                                                                              You paid Stanley
21 Stein wi th a check?
22                                              A.                  I paid Stanley Stein check.
23                                                                  Did you go and look when you got this subpoena
                                                Q.
24                      that l s sitting before you as Exhibit 1 to find any of
25                      the checks that you paid him with?
';:;'i;c~i~""M;:'.''~''~~!N"'ii,,,i''J'-;,r,_-'':~'x;''''.P;_~:j;';;.;;"'__"":'-"~,.~:W''''''_'''''''''*~ ="~:;,~~,~,,----'--'-- "~Ü;:ifjtiUW,~",,~: ;,.'-P':.'Z . "'-~,....,~;ii;;;;.a-.:;:"a""#¡;.'- ";' ::c'-':C:-:-::'::.'--:-:--'-""''S&~~~=~èFø;'.(f'r*f%.\".'-:.~:#.


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                                                                                                                                                                                                                                                                      Page 30
        i                                         A.                 It was more than 10 years ago.                                                                                                                          I didn't keep
       2 it, documents.
       3
                                                  Q.                 So you're saying you don't have any of the
       4 documents?
       5
                                                 A . Ab sol ute 1 y .                                                             I don i t have any documents related
       6                  Stanley Stein, Marina Stein, Yuri Stein.                                                                                                                                                               I don't have
       7                  any documents.
       8
                                                 Q. Well, you have their medical records?
       9                                                            MR. NETTER:                                                   Excuse me.
 10                                                                 THE WITNESS:                                                       Yeah, you asked me
 11                                                                 MR. NEITER: No, no, no.                                                                                                     Just a moment.
 12 Obj ection; argumentative.
 13 BY MR. LEVIN:
 14
                                                 Q. Okay. You have their dental records; correct?
 15                                                                MR. NEITER: Whose dental records?
 16                                                                 THE WITNESS: Yeah, I have
 17                                                                MR. NEITER: No, objection                                                                                                                       just a moment.
18                       Just a moment.                                                              Objection; unintelligible.                                                                                                            I don't know
19                      who you mean by their records now.
20                                                                 MR. LEVIN: Your obj ection is unintelligible.
21                                                                 MR. NEITER: Your question is unintelligible.
22                                                                 MR. LEVIN: Okay.                                                                           Did you hear me?
23                                                                 MR. NEITER: I thought I did.
24                                                                 MR. LEVIN: So it was intelligible.
25                                                                 MR. NEITER: No.                                                                       It was audible.                                                                   It was not
'~:;¡-::____,:_,,"i.~';"'.,*:;'$i;~:.~~g',--_"2,,~:i':ö.":'" "~''''',;:,~~:.~~ ~:--""""~~'l't",,".;:,-'" --'''''''''"";C'-'';;~W;'-,:,~,-'-:::~-;y.hÚ('';¡Tiá~1-_''''''' '-_.-....ú-~;;;:;l,:,~-:;,;;,_,,:~;,~"i~M,i:;X;~'''il,~',,~;;,,;:il'''"'_Wi__~'- ",,',
                                                                                                                                                                                                 ,.-S~;t~..#,+;'i-;-;"'~0:~"~",.:,.. -".,.:..,;,.-;~"~:¿~:";"iO:_-'-;'ü~Ax;;'.-"~~_',;:;~N',-;,;-~__-,


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                                                                                                                                                              Page 31 l
        1
                           intelligible.
        2                 BY MR. LEVIN:
        3                                                                                                                                                                    i
                                                 Q. Do you have medical records for Stanley Stein                                                                            ~
                                                                                                                                                                             .
                                                                                                                                                                             ¥
        4
                          or dental records?
                                                                                                                                                                             l
       5
                                                                   MR. NEITER: Objection; asked and answered.
        6                BY MR. LEVIN:                                                                                                                                       ,;



       7
                                                Q.                 Do you have dental records --
                                                                                                                                                                             I
       8
                                                                  MR. NEITER:                                           That one I will instruct him not                     Î
                                                                                                                                                                             ~

       9                 to answer again because that question now has bordered                                                                                              ?:
                                                                                                                                                                             1
                                                                                                                                                                             ì

  10                     on the harassment.                                                                                                                                  I

                                                                                                                                                                            ,'i
  11                                                              MR. LEVIN:                                                                                                 J
                                                                                                                       You haven't even let him answer the
  12                     question. How is it asked and answered? He's only                                                                                                  l
                                                                                                                                                                             ¡
  13                     answered it once, and I'm trying to get a clarification                                                                                            ~
                                                                                                                                                                            :i
                                                                                                                                                                            1
                                                                                                                                                                            ~
 14                     because he's changed his answer, so why don't you just
 15                      let me ask the question instead of wasting all our time
 16                     wi th an asked-and-answered obj ection which is improper.
 17                     This is a discovery deposi tion. This is not trial.
 18                     Relevance is even an inappropriate objection in a
 19                     discovery deposition.
20                                                               MR. NEITER:                                           Perhaps not in Chicago, but in the
21                      federal courts that I have practiced in, it is indeed an
22                      objection.
23                                                               MR. LEVIN: Okay.
24                                                               MR. NEITER: It will give you the opportunity
25 and the reason why it's obj ectionable is because it
~:;l";:"-"~'._""..-'~*P''''- O,i',~~~:",,',N';'c;"¡%j,;"'~'i_ '-"-,Æ"~,6.""ii.i'*:.'~~¡"~,:'=~,":,'_i:-h;-;¡~..;¡"",



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                                                                                                                                                        Page 32

                      gi ves the questioner an opportuni ty to rethink the
   2                  question and to rephrase the question.
    3                                                          MR. LEVIN:                 This is going to take a really long
    4 time.
   5                                                           MR. NEITER: I don't think so.
    6                                                          MR. LEVIN: It will because I could have had                                                                         I
                                                                                                                                                                                   ;~

    7                  five questions asked already.
    8
                                              Q~ Do you have medical records for Yuri Stein?                                                                                       i
                                                                                                                                                                                   ~
    9                                                          MR. NEITER: Obj ection; irrelevant.
                                                                                                                                                                                   i
                                                                                                                                                                                   1i
                                                                                                                                                                                   ;t
10                     BY MR. LEVIN:
11                                             Q. Answer the question.
12                                                             MR. NEITER:                    Do not answer the question.                                   It is j
                                                                                                                                                                                    !
13                     both irrelevant and interferes with Yuri Stein's privacy
14                     rights.                                                                                                                                                      I
                                                                                                                                                                                    t
15                                                             MR. LEVIN:                  Do you represent Yuri Stein?                                                             i
                                                                                                                                                                                    tit
16                                                             MR. NEITER:                     I do indeed as you would notice if I
                                                                                                                                                                                       ;'
17                     you would have read my obj ections to Yuri Stein's                                                                                                              t

18                     deposi tion..
19                                                             MR. LEVIN:                  I found it surprising so I want to
20 confirm.
21            Do you have medical records or dental records
                                               Q.
22 for Mar ina Stein?
23                                                             MR. NEITER: Excuse me.                                           Obj ection on the
24                     grounds of privacy, Marina Stein's privacy rights.
25                                                             THE WITNESS: This is OSHA.                                           I can't say.
,:~;;'c;','M ,,;,,~,,i.d-m;;,~~"'ég¡,,;~. ,~~';:~à,:;~,,~,'-        ,"*i...':::: "~A~or,¡4--',r~'_~._ '";', _'1;':"'" -~,%"                                  ....-~Al.,MiMm~~'I. . .~--~;.,,-~_-,J



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                                                                                                                                                                                                                                                           Page 33
     1
                                                                   MR. NEITER: Pardon me?
     2
                                                                   THE WITNESS: This is OSHA. This is the rules.
     3                   I can't say.
     4
                                                                   MR. NEITER: HIPAA, not OSHA.
     5                                                             THE WITNESS: HIPAA, not OSHA. HIPAA, I'm
     6                  sorry.
     7
                                                                   MR. NEITER:                                                    I understand. Let's not you and I
     8
                        talk. We want the reporter to move forward wi th the
     9                  deposi tion.
10                                                                 MR. LEVIN: So you're ins truct ing him not to
11                      answer any of those questions.
12                                                                 MR. NEITER:                                                    I do indeed.
13 BY MR. LEVIN:
14
                                                Q. Are you following your counsel i s advice and not
15 answering the question whether or not you have Marina or
16 Yur i Stein's dental records?
17                                                                 MR. NEITER: Excuse me. Answer the question.
18                                                                 THE WITNESS: Yeah, I listened. Can I say yes?
19                                                                 MR. NEITER: The question is are you following
20 my instructions?
21                                                                 THE WITNESS:                                                        I follow.
22 BY MR. LEVIN:
23
                                                Q. Okay. Other than the dental records for
24                      Stanley Stein, your testimony is that you have no other
25                      documents in your possession or control re1ati ve to
~;;;,'0"o:y;,~;:-_'.'E~'õ;;-¡,-,-'~~""""".'~;''iilW~Z;;:,,,¡,';'_1k, '"-.=",,';''X, -ù'i..:.~",'ii6:" . - .,:,'"ti'l"ÕH:;;",:-".;,:;:;.""có;:;;"-:-,,,,,,;;.,;,-,t'0'' . -r¡',-i,;,~.;¿'i;~~""-::;.G~ii_' "¡,,';'i;~:'-~::,~l''i~~,~;" ¡,::~K::_____~,.~


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                                                                                                     Page 34
               Stanley Stein; iS that correct?
      2
                       A. I don't understand.
      3
                    r 3. ~_Õ-th-er ihari ~ ~~e _cie_nt~.i_-_~;c-o_rd~_~i_-_-
             'ist ã' 1 e y S t e) n , _YDJl' .r e _ s a.y:i n g__t ha t_y.o u _don.'_t _ha)le _an.y
      4
              .._---
      'i
            ~ 'o~t-her documents r~lli_t:ed- fc:~ Stajii~y- Štein; cQr r~ç!-?
      6
                     -A~.    Co.rrect.
      7
                       Q.    B~t you~ re also saying_¥ou did not look for_any
      8
              documents bêcause you thought that they were too old to
      9
              look for; is that correct?
 10                   A. Correct. ~ 1
 11
                   Q. Other than the money that you paid to
 12           Stanley Stein for the periods of time that he was
 13           working for you, did you ever give him any other money?
 14
                      A. No.
 15
                      Q. And would that include from you personally?
 16                   A. Never.
 17
                                                 whetlJer ..L Qpt_Y-ou.~ wi feJias _e::e_r-
                   f~-- pi_~~;- k.no'd
 18          i given -h-i"? a~y__mQl1ey2
 19                         -MR. NEITER:          Jus.t _c2--QIlê.DJ._ Obj ection; ~r
 20
            ll___ _ __ _
            .-liusoand-wi fe pri vi lege,            irrelevant.
                                                     - -                       . -- him not
                                                                           I instruct
21
            ..- - - -- - - -- -
             -to a11swer- the question.
22          -BY-MR': LEVIN:
23
                    , Q~- A~e .you following your attorney' ~~ ~dvice and ~
21J
             not- ãñswering the question?
25
             ---- ---~~ t. fOi,lOW.J


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                                                                                                                                                                                                    Page 35
      1
                 Q. Are you familiar wi th an entity by the name of
      2 Field Chasers?
      3
                 A. I never hear this name.
      4
               Q. And what about Midas of Glendale, are you
      5 familiar with that business?
      6
                        MR. NEITER: Those are two questions.                                                                                                                                       If you
      7
          understand the question, you may answer it.
      8
                        THE WITNESS: Yes, I know.
      9 BY MR. LEVIN:
 10
                 Q. What is it?
 11              A. This is tires and muffler shop.
 12
                 Q. And do you know who owns that shop?
 13              A. Yeah.
 14
                 Q. Who?
 15              A. Marina Stein.
 16
                 Q. And how is it that you know that she owns it?
 17              A. She tell me.
 18
                Q. And who works there?
 19             A. Mechanical shop who work.
20
                Q. 11m sorry?
21              A.  It i S a mechanical                                                                           shop. Mechanical work.
22
                Q. Do you know the people who work there?
23              A. No.
24
                Q. You don i t know any of the people who work
25 there?
                     ;;.;,-~;¡¡ -,,-'--"';:~'iff.k~.§"'~":::' --';':~.;.,;);;¡' ". ,- ------.-.---;r;,òt¿:~...";'...,,-'J"~;:n''i~'*-Xf .. '.~~,,',ßiî~*E-"'"'
                                                                                                                                                                 ';ø.",,,i:;,':'''';'::.;iik.#._


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                                                                                                                                                                                                                                                     Page 36
        1
                                                  A. No.                                     I know it's Glendale. Like from here to
        2 Chicago.
        3
                                                  Q.                 I i m sorry?
                                                                                                                                                                                                                                                                t
        4
                                                  A. Li ke from here to Chicago.                                                                                                                                                                               ,1-
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                ,
        5
                                                  Q. Probably feels that way when you're driving                                                                                                                                                               l
        6 there.
       7 Other than the checks and the bank account that
       8                  we discussed earlier relative to the payments that you                                                                                                                                                                                ~,
                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                               '.
       9                  made to Stanley Stein, do you now have any information                                                                                                                                                                               1


  10                      concerning any of Stanley Stein's bank accounts?
  11                                             A. No.
  12
                                                 Q. Do you have any information concerning
  13                      Stanley Stein i s current occupation --
 14                                             A. No.                                                                                                                                                                                                         I
 15
                                                Q.                  -- what he does for a living?
 16                                             A.                 No.
 17
                                                Q.                 Do you have any information concerning where he
 18                      lives?                                                                                                                                                                                                                                ~

                                                                                                                                                                                                                                                               ~
 19                                                                                                                                                                                                                                                            I
                                                A. No.                                                                                                                                                                                                         ~
                                                                                                                                                                                                                                                               i
20                                                                 You don i t know what address he lives at
                                                Q.
21                      currently?
22                                             A. No.                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                               -I

23                                                                                                                                                                                                                                                             I
                                                Q. The medical records that you have, would they                                                                                                                                                               l
24 contain his residence address?
25                                             A.                  I think no because somebody write, some not.
¡'-æ;0'.:;,.;~;Y,:oc~",';;~:::,,;:=~,?:,;;;v \,:,:",gfu~';,'¡¡Ji"'-;.:::J;'-""""""'_';';X~-'_'.-;0':c'Ô%~;,,";~*
                                                                                                            ",~k,o_:;,,.:_,i~,*_;i'6~:_.y.l~,,&"_,;;;' ú~:', ':-"k"',,_' ~-: -':-';?:',...m.d'.m"-~.;.;."X.;,;_;:¥§(O;¡:Æ;¡í.óX--'L~,,;i;T... c:~:


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                                                                                Page 37
 1
               Q. I'm sorry?                                                                    ;~
                                                                                                t
                                                                                                L
                                                                                                i
 2                   MR. NEITER:      He said, "I don't know because
                                                                                                t
 3       somebody write."                                                                       ~
                                                                                                l'

 4                   THE WITNESS:      Somebody wri te, somebody not.                          ~
                                                                                                ,~~
 5       Ladies never write age.          Some people never wri te                              1

                                                                                                l
 6       address.                                                                                !
                                                                                                 ~
                                                                                                 ~

                                                                                                 ,f
                                                                                                 1
 7       BY MR. LEVIN:                                                                           :i


 8
               Q.    So you believe that the dental records
 9       concerning Stanley Stein don't contain a residence
10 address on them.
11             A.    I don't remembe r .      I think no.
12             Q.    But you're not sure?
13             A.    I'm not sure, but I'm -- I'm not sure.
14              Q.   Do you have any obligations to maintain
15       patients i residence addresses?
                                                                                                      l
16                   MR. NEITER:      I'm going to obj ect because it i S
17       an unintelligible question.            It calls for perhaps a
18       legal conclusion at one type of interpretation of that.
19       You may answer the question, however, if you understand
20       it.    Do you want the reporter to read it back?
21 BY MR. LEVIN:
22              Q. Do you remember the question?
23              A. No.
24       Q. Do you have any obligation to maintain your
25 patients' residence addresses?


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                                                                               Page 38
 1             A. No, I never.
 2
               Q.       You never have what?
 3             A.       Problems with residents because patient pay
 4
         half and half when they start and when they finish.                           I
 5       don't care about address, about Social Securi ty.
 6
             (~~ Às a ..geni):s~, ..h~re are_c§-rtaiJ. rules and_ _ a
 7
          - -------
         regula tio~s-~PlIL_the._s.ta.te- tha-t-gover-n your -conduct; is
 8
         -
         ~hat-eorrect?- --
                               -- -
 9

10

11
            -            --
                        ~MR. NEITER:
         'legäl conclusion.

          ---
         BY MR. LEVIN:
                                        Objection; irrelevant, calls for a
                                      You may answer the question.


12           --Q.       Is that correct?
13             A.       Correct.
               -_..--
14             -Q.      Are you familiar wi th any of those rules and
15 regulations?
16 _. 1\. i-, rr familiar.1
17 Q. And then there's also laws such as HIPAA that
18 govern your conduct; is that correct?
19              A.      Yeah, I know there is HIPAA, but I can't tell
20       people put your age or address.            This is up to you, up
21       to you.
22              Q.       So you don't know whether or not you have an
23 obligation to maintain their residence address?
24              A. Huh-uh.
25              Q. You i re not aware of that?

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                                                                                       Page 39
       1
                      A.   Huh-uh.
       2
                           THE REPORTER: Is that "no"?
       3
                           THE WITNESS: No.
       4
               BY MR. LEVIN:
       5
                      Q. Have you ever seen Stanley anywhere other than L;
       6
               the hospi tal or your office in the last five years? l
       7


       8
                      A. Hospital and what? !                                                         ¡
                                                                                                      t


                      Q.   Your office.
       9
                      A. One mo re time.
 10
                    ir~~_H~Ve_yO~ ever seen Stanley other than at theJ
 11
              .. -- - . - - - - - - -- - - - - - -.. -
              I hospi tal ~ìNh~en Marina was hãving- her surgery or - your
 12
                 ,Õffice when- fie cõm.e.s_ by to s-.y .hj ~r when he wõrked fõr
              ..iyóuT.
                  ---_..
 13

 14                   :..-A.- --- Of cõurs-e I se-e him. -
 15
                         Q. - -Wlierecfo yõ~ee him?
 16                  A.- -In-my o-ffice. In my home.
 1'/
                     Cr - - -He comes - to your bome? _
 18
                          ___0; _.
                     A.__Yeah.
                    l_
 19
                    . Q-.- Wh'eñ was tn~e_ -~ast time he came to y?ur home?
 20                  A. --Long time ago.
21
                     Q.    How iong?
22
                    .. g. - Cöuple of months for say        hello i
23
                     Q. He came by your house to            say hello?          Yes?
21                   A.    For came to my house?
25                         Yes.
                     Q.


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                                                                                                                                                                                                                                                                               Page 40
       1
                                                  A.                   For saying hello.
       2                                                               Did he corne alone?
                                                   Q.
       3                                          A. Alone, sure alone.
      4
                                                   Q. Why do you say "sure alone"?
      5                                           A. Because he was alone.
      6
                                                   Q. Does he ever come with anybody else?
      7
                                                  A. Never.
      s
                                                  Q. Never?
      9                                           A. Never.
                                                                                                                                                                                                                                                                                                                  J
 10                                                                                                                                                                                                                                                                                                               J
                                                  Q. He never carne with Marina?                                                                                                                                                                                                                                  x



 11                                               A.                  No.                                                                                                                                                                                                                                         "


 12                                                                                                                                                                                                                                                                                                               l
                                                  Q.                 When he comes to your house, have you ever seen I
                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                  "
 13                      how he gets to your house?                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                                                                  ~-
 14                                               A.                  How?
 15
                                                  Q. How does he come to your house? Does he walk?
16                                                A. Walk?
17
                                                 Q. Yeah.
is                                               A. Maybe drive, maybe walk.
19                                                Q.                 You don i t know.                                                                    Is that a "no"?
20                                               A. I don i t know.
21
                                                 Q. And other than the visi ts that he has at your
22 house and your office, do you see him anywhere else?
23          I explain. This is his sister.       A.                                                                                                                                                                                      This iS
24 family. That lsi t.
25 Q. Pointing to your wife.
"';~'X'-;~'k*1if';:/;'~:"'%;;i¿i,~~'H'!,'.¿i'¡;X"":f!"'.;';¡",;;, -;:;"':::~;-,k-iji.¡'¡:li:"'""::;,;;.,~'=",'~:;:,:,~_,,_.::_c:,,"".':N¿~,~,i;~r,¡:- .,;:~,~;N:~';j.giÆl":-K;j."..."".".-.~,;,,_':'.,,~-,.,;,:,:,----,.' --':-'-"::;i';/''':~.-"",,,.~-,,-'''~''-:-:,?~::.,,;:-,,,:;.ü:.;,,;;':;''~H_!"~':0c.""'o,¡:¡rW~~:;j:r,\,i,,c,.:.."''':_" ';.o;;~~;


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                                                                                                                                                                                                                        Page 41
      1                                          A. Yeah.                                              Yeah.                             She's his sister, Stanley, and he
      2                   like her, and he come to office or home.                                                                                                                                     That's it.
      3
                                                  Q. Other than at the hospital, do you ever see
      4
                          Stanley with Marina?
      5                                          A.                  Never.
      6
                                                  Q.                 Ever?
      7
                                                 A.                  Never.
      8
                                                 Q.                  Okay.                             And the visi ts at your house and at your
      9                  office and at the hospi tal. We've covered those.
 10                                                                  Have you seen him anywhere else?
 11                                              A. Any what?
 12
                                                 Q. Anywhere else other than your house, the
13                       hospi tal, or your office.
14                                               A.                  In hospital, I think.
15
                                                 Q. We covered that. Anywhere else?
16                                               A.  For last many years I see him every day only in
17                       the hospi tal and once in months, two months, three
18                      months or in my house or in my office, and that's it.
19
                                                Q. Nowhere else. No?
20                                              A. No.
21
                                                 Q. Have you ever had any knowledge at all in the
22                       last five years about what Stanley -- sorry. We covered
23                      that. Strike that.
24                                                                  Do you have any knowledge about Stanley's
25                      assets, things he might have in his possession other
~:'?r;",~':;"/;';,;~'i",;¡~;;¿,.~;.r;,--_:;,~ì4n.T'_i;o'_"Æ""~,.._~r"':,.,,;;~:,,;'.';";:':;\i;':;~::,~,,,;,,,"W"2;i&,-i_";¡",,':'i';;':':'i.;,';;~~-,'i:':',:;:K"";:7';":~,W!¡~¡"'.Æ't~:~*.


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                                                                                                                                                                                           Page 42
    1
                       than the clothes he i s wearing when he shows up at your
    2
                       office, house or at the hospital?
    3                            A. Absolutely not.
    4
                                 Q. When he would come to the hospi tal, would he
    5 come alone?
    6                            A. Alone.
    7
                                 Q. SO you have no knowledge about the financial
    8                   affairs of Stanley Stein?
    9                            A. Absolutely no.
10
                                 Q. And you i ve never lent him any money?
11                               A. No.
12
                                 Q. He i s never asked you to borrow any money?
13                               A. No.
14
                                (Q . _ =- ~D i d ~y ou eve r v. i_~ i t h ~ ~ _ i r: j air? L
15                              'A.
                                 ---Yeah.
                                    -- ---~,.
16

17
                                ~~A.
                                 Q. -  --------_._---~.
                                     How                        --
                                         often would you visi t him
                                     M_aJ:be twi?e.. J
                                                                    -----
                                                                    in jail? '

18
                                 Q. Twice total?
19                               A. Uh-huh.
20
                                 Q. Yes?
21                               A.     Yeah, two times.
22                                      Did you go alone?
                                 Q.
23                               A.     He was alone?
24
                                 Q.     No.     Did you go alone?
25                               A.     I was alone for visi t?
~~,,',_,.~-_,:;':;.~JI~_x;;:,                                    "',. '-. '~,.ic_"i:l,~-',,r!!,i~,,;!)&m;._,"':,;,:,,,,:,~0,':~.~,,; '..,.._ti:"',..'c':.;_x'i;o'ii,:,,,.~_,""',i'_;.~~;!'~""t..._"'_'-..,,,_ ..""''':'r':'-,iv'


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                                                                                                                                                                                                         Page 43
 1
                Q. Yes.
 2              A. With my wife.
 3
                Q. Do you ever talk to Stanley on the phone?
 4              A. I don't know what his phone number.
 5                     I didn't ask his phone number.                                                                                                             I asked whether
                Q.
 6       or not you tal k to him on the phone.
 7              A. No, I never talk with him.
 8
                Q. He doesn't call you to say hi. He only stops
 9       by to say hi?
10              A. No, for him better come.
11
                Q. Does Marina ever talk about Stanley with you?
12              A. Never.
13              Q. Have you ever loaned any money to Marina? Have
14       you ever loaned any money to Marina?
15              A. No.
16              Q. Have you ever paid any money to Marina?
17              A.     Pay money to Marina? Never.
18              Q.     Did Marina ever work for you?
19              A.     30 years ago.
20            ~Q. In the last five year~, has ~tanl~l ~ver Y?~9.
21       ryõu about any of his travel outside the Uni--
                                                      ted States?-
                                                        -----  ---
22
               ..Ã.    Travei.
23             ~"Q .   Outside. the United States.
24

25
               -
               IA.
                .-
                -Q.
                       Yes.
                       Where di-a he                                 trave-1 ?

                              ,- ';.','.\:;:~.'i';;'.";AA¡.;,~:,;'.~i.¥_."_0: .-,~.,0;'_..:;''''':');'",.,.",.:,;,,-,.,:-;-,,:.:,,:,._''"t:..;t_;:i-;_~'_:Y"""~Yj'1;""M~'t.(,,~ .';.~,,~:,~C¿f.'.,.,i.


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                                                                                 Page 44
                 - ir______
      1
                ~A. To Cancun.
      2         ~. Do you know -how ~ong ago tha twas?                -                         1
                                                                                                1
      3         ~ A-.- . TFiree years ago.1                                                     ~


      4
                 Q. And when did he tell you about it?                    Around the
      5   time that he traveled?                                                                5;
                                                                                                k
                                                                                                l
      6          A. Yes.                                                                        i
  7
                 Q. And where was he that he told you? Where was                                ~
                                                                                                jt.
                                                                                                -~

      8
          he when he told you about the travel?
      9          A. Told me?
10
                 Q. Yes.
11               A. Come and told.
12
                 Q. I'm sorry?
13               A. He come to my office and tell me about it.
14
                 Q.     Okay. Did he tell you who he went with?                                  I

                                                                                                i
15               A.     Don't remembe r .
16                      Do you recall whether or not he went with
                 Q.
17        anybody at all?
18               A.     What did you say?
19                  Do you recall whether or not he told you that
              fQ..
20        hë had gone wi th someone?
21
                L A. Wi th me.
22
                 Q. With-whO?
23

24
                i..A~-
                    . Wrfh- me.
                   - ---He went with
                   Q.                   you?

                      - - Uh-huh.
25               A.
                          --        .

.""

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                                                                                          Page 45
      1
                     "-
                     'Q. To Canc.uñ ?-. ..
      :7
                      Ã. Uh-huh.
      3
                          Q. _.You were there wi th him? ,
      4
                      iA-' -Uh-huh~- yeah.
      ~
                          Q.    It ~asn' t thaf he actually told you about the
      6


      7
               -trip;A.he Yeah.
                          -
                           was on the trip with you.


      s
                      Q. Who else went wi th the two of you?
      9
                      Ä. My wife.
 10
                    'Q. Who else?
 11                 IA. Marina.
 12
                     "Q-. -.-And where did you stay?
 13                  A:         In hotel.
 14
                                            -
                     IQ-:      What hotel?
 15                                                              -
                     .A.-      I don i t remember the     name.
 16
                    iQ. Was it on
                               -
                                  thë beach?                                                              "


 17                  rA.       On the beach.
                     ..
 is                            - -
                     .Q".      In Cancun itself or in one of the towns south?
 19                  A~        In Cancun.
 20
                    .'Q.       -How   long did you stay?
21                   A-.       One week. J
22
                     Q.        Anybody   else   go   with you?
23                   A.        No.
21\
                     Q.        Just the four of you?
25                   A.        Yes.

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                                                                                                                                                                                                    IW
                                                                                                                                                                 Page 46 "
 1                                                                                                                                                                                                  i
               Q. Who paid?                                                                                                                                                                         ï


 2             A. Paid for what?                                                                                                                                                                    i
                                                                                                                                                                                                    ,
                                                                                                                                                                                                    £
 3
               Q. Well, let i s start with airfare.                                                                                                                                                 ~
                                                                                                                                                                                                    1


 4             A. I don't remember who paid.
                                                                                                                                                                                                    1?
 5                  Was it you?
               Q.                                                                                                                                                                                   G


                                                                                                                                                                                                        j
 6             A.    I don't remember. Maybe me, maybe my wi fe .
                                                                                                                                                                                                    ì
 7
               Q.    Who paid for the hotel?                                                                                                                                                        i
                                                                                                                                                                                                        !l

 8             A.    This is the same.                         It was package.                                                                                                                          i~
 9
               Q.    I t was a package?                                                                                                                                                                 i
                                                                                                                                                                                                        ;J


10             A. Uh-huh.
11                   THE REPORTER: "Yes"?
12           THE WITNESS: Yes ~
13 BY MR. LEVIN:
14              Q. Any other travel in the last five years --                                                                                                                                            i
15             A. No, no more.                                                                                                                                                                              I
                                                                                                                                                                                                         ~.
                                                                                                                                                                                                         '~

16              Q. -- that you're aware of?
17             A. Only one time.
18              Q. Only one time that you went wi th Stanley?
19              A. Uh-huh.
20              Q. Yes?
21              A. Yes.
22              Q. And did he ever tell you about any other travel
23 that he took?
24              A. Never.
25              Q. You 1 re not aware of his travels outside the
                                      MtXç'Wlt;.;::j"'~""'M'';''_'!''':"': ~;v "".:f,,"¥~';~'if.,&m:,._:¿_." -'" :":z'-"K,,~---f,-;i¡E;i"l~'i~;'"Ì\";~"' _ ,,'~:;if,;t;-:_;'~;"iJ,ml~~¡iFh.~",',_



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                                                                                   Page 47
      1
           Uni ted States other than the trip to Cancun with you.
      2
                 A. Never.
      3
                tJr_- vtas-¿here a rea-;~- that the -f;-ur--;f~-ou-:~;:;
      4
           gõing -tõ--C~~n? -Were you celebrating some eVE;nt?
      5               ¡vIR-. -Ñ1~S:.~r-ER:
                                              Excuse me just a moment.
      6
          :Obj ecCi-on.. --The -an-swer would interfere wi th my client's I
      7
          ..-                                                                                      B
          privacy- rights.           I instruct him not to answer the                              ¡
                                                                                                   ~

      8
          .qÜe~tio-~~J~ --                                                                         it;
                                                                                                   ~
      9                                                                                            tl
                      MR. LEVIN:             As to whether or not there was an
 10       event that prompted their vacation?
 11
                      MR. NEITER:             Was there a particular thing that
 12       you didn't understand that I said or are you trying to
 13       argue wi th me?
 14 MR. LEVIN: I i m trying to get a clarification
 15 of your obj ection. I just want to make sure what it is
 16       you're obj ecting to and what you i re claiming would be a
 17       privacy right.
 18                   MR. NEITER: I think it was clear.
 19                   MR. LEVIN: Okay~
20                    When Stanley comes to your office to visit,
                 Q.
21 does he ever discuss the State Farm case?
22              A.    State Farm case, no, never.
23                    Do you know what the State Farm case is?
                 Q.
21              A.    I have patients wi th State Farm.
25                    Do you know what this case is about?
                Q.


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                                                                               Page 48
 1             A.. Dental.      Dental patients.
 2
               Q. Do you know what this case iS about?
 3             A.. I don i t know about this case.
 1
               Q. You don i t know why it is that you i re having
 5       this deposition with me?
 6             A. No.
 7
               Q. You don i t know about the amount of money that
 8
         Stanley owes to State Farm?
 9             A. No.
10             Q. You i ve never been told anything about that?
11             A. He never said.
12             Q. 1'm sorry?
13             A. He never tell me and never say me about this.
14             Q. And you never bothered to find out?
15                  MR. NEITER: Excuse me.           Just a moment.
16 Obj ection; argumentative, not relevant.
17 BY MR. LEVIN:
18             Q.    So you never bothered to find out?
19                   MR. NEITER: Never bothered to find out what?
20                   THE WITNESS: What?
21                   MR. LEVIN: I f you don't know my question, what
22       were you obj ecting to?
23                   MR. NEITER:      On the grounds that it was
24 unintelligible because you hadn't completed. What was
25 what about?
                                           M"~'


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                                                                                                                                                  ~~

                                                                                                                                          Page 49 l
                                                                                                                                                  i
     1               BY MR. LEVIN:                                                                                                                ,


                                                                                                                                                  ~
     2
                                         Q. Are you aware of the fact that Stanley owes                                                           fi
                                                                                                                                                  J

     3               State Farm over $14 million?                                                                                                 j
                                                                                                                                                  ~1
                                                                                                                                                  ,
                                                                                                                                                  ~
                                                                                                                                                  .
     4
                                         A.                $14 million, no.                                                                       $


     5
                                         Q. And you don i t know why he would owe them
     6
                     $14 million?                                                                                                                 l
     7
                                         A. Never.
     8
                                         Q. You i re not aware of the fact he was found
     9 liable for fraud?
10                                       A.               No.
11                                                         Do you know what kind of car Stanley currently l
                                         Q.                                                                                                       ~


12                  dri ves?
13                                       A. Car Stanley drive now?                                                                                .
14                                                                                                                                                i;e
                                         Q ~ Yes.
                                                                                                                                                  i':~
15                                       A. Never see his car.                                                                                    ~-
                                                                                                                                                  5
                                                                                                                                                      :%
16
                                         Q. Never seen his car?                                                                                       ¡?
                                                                                                                                                      k
                                                                                                                                                      *
17                                       A. I know my car.
18
                                         Q.               I don i t need to know about your car unless                                                i
                                                                                                                                                      r
19                  Stanley bought it for you.
20                                       A. No, never.
21
                                         Q. Okay. He never bought you a car?
22                                       A. Never.
23
                                         Q. When was the last time Stanley bought you
24                 anything? When was the last time Stanley bought you
25                 anything?
         ~'""n::*,Y0._'i,""k:*~~~'¡'A,,-'i;x~,*~W'~t,__,::"~~,'                       ~ 1 """,.",-:i¡,._J::: .' ~:. _.';",~";"~, _, .~.


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                                                                                                                                                                                                       .
                                                                                                                                                                                    Page 50 ~
          1
                                                 A.                I don't know. What he buy, not buy, I don't
          2
                            know. We never say about business, about nothing~                                                                                                              We l
                                                                                                                                                                                                       "

                                                                                                                                                                                                       I

          3
                           say about kids, my granddaughters, and that's it.                                                                                                                          i
                                                                                                                                                                                                      l
         4
                                                 Q~ Has he ever given you any gifts?                                                                                                                  l
                                                                                                                                                                                                      B
                                                                                                                                                                                                      ,
         5
                                                A. Gifts?                                                                                                                                             i.



         6
                                                Q. Yes.
         7
                                                A. No.
        s
                                                Q. So he J s never given you a birthday present or
        9
                          anniversary present?
   10
                                               A. Never.
   11
                                               Q. But you don't know --
   12
                                               A. Maybe long time ago, but not now.
   13
                                               Q. When you say long time ago, how long?
   14
                                              A_ 20 years ago.
  15
                                              Q~ A lot went on 20 years ago.
  16
                                              A. Because we're together 58 years.
                                                                                                                                                                                                  ¡
  17
            Q. Do you know whether or not Stanley still has                                                                                                                                       ~'

  is relatives outside the United States that he stays in
 19 touch with?
 20                                          A. Relative?
 21
                                             Q. Outside the United States.
 22                                          A. No.                                  No, I don't know.
23
                                             Q. Do you know Ella Brodsky?
24
                                            A. Who?
25
                                            Q. Ella Brodsky.
'::_~'iL~7"-'i;;_,¿- F''t,o:¥;:,;,r,-j;3:,':i&"t:M'',_H!H~'~3..""'~.'' '_K._ _~_~t' . YcA-'¡;~Q_x~--''''''.~:'~_-' '.ß,-i',W"'J4,~%:-;",~__'--'-__c_



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                                                                                                                              Page 51
      1
                                                   A. Ella Brodsky, no.
      2
               Q. Have you ever heard Stanley talk about any
      3 businesses that he has outside the United States?
      4
                                                   A. Never.                                                                                 ~
                                                                                                                                             K

      5
                                                   Q. Did you know anything about Stanley's medical                                         ~
                                                                                                                                             J
      6                 marijuana shop?
      7
                                                  A. Medical marijuana shop.                     No.
      8
                                                   Q.                   Do you know what that is, a medical marijuana
      9                  shop?
 10                                               A. No.
 11
                                                  Q. Do you know about medical marijuana?
 12                                              A. I know what is it, medical marijuana, because I
 13                     working for pharmacies with medical marijuana.  I know
 14                    what it is, but he never say me about medical marij uana.
 15                                                                   When you say you're working with pharmacies on
                                                 Q.
 16                    medical mar ij uana, what does that mean?
 17                                                                   MR. NEITER: Obj ection; interferes with his
 18                    pr i vacy rights.                                          Instruct him not to answer.
 19 BY MR. LEVIN:
 20                                                                   Is it your business that works with the medical
                                                 Q.
21                    marij uana shop?
22                                              A. My business
23                                                                   MR. NEITER:       Just a moment.   Same obj ection;
24 same instruction.
25

      ';"""""~.~.':.c"'i'.-:'''~''-'-''~;'-'''~-Y¥''''~i7k~'''"~,:,,, ',-'



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                                                                                                                                                                              Page 52
      1
                         MR. LEVIN:                               So if it i s his business that works
     2       wi th a medical marij uana shop, you're going to claim a
     3       right to privacy on his business?
     4
                         MR. NEITER: I just now did.
     5                   MR. LEVIN: You represent his business also?
     6                   THE WITNESS ~ Mr. Levin
     7
                         MR. NEITER: Don' teven answer the question.
     8                   MR. LEVIN:                               Is that true? Do you represent his
     9 business also?
 10                      MR. NETTER:                                   It's not my deposition.                                                                          I've
11           instructed him not to answer. Ask another question.
12                       MR. LEVIN:                               It may not be your deposition, but
13           you certainly have to state an appearance if you're
14           going to represent a person or entity, don't you? Which
15           you haven't even actually done.
16                       MR. NEITER: Are we done with his questioning?
                                                                                                                                                                                             i
17           Are we
                                                                                                                                                                                             j
18                       MR. LEVIN:                               I'm trying to get a clarification
19           that you are asserting a privilege on behalf of the                                                                                                                             I


20           enti ty, his dental practice.                                                                     Is that correct? You're
21           not going to answer that question?
22                       MR. NEITER:                                   I am not going to answer your
23           question.
24                       MR. LEVIN:                               You're not going to answer the
25 question as to who you i re claiming the pr i vilege on
                               y~lI __.l.".."".~.C _-~A"'¿,r¡..;¡~'¥--"~~;;;;';¡¡,,~~l':';__._ _,.-;.,,- ß~;:,':;",':'~",i,4S~'''''i¡;:,";'~::;..'''~'¡~


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                                                                                                                                                                                                                                                            Page 53 ,~
       1
                         behalf of, just so we're clear.
       2
                                                                  MR. NEITER:                                                I believe I was clear that I
       3                 asserted a privilege as to this wi tness as to the
       4
                         deponent.                                         I instructed him not to answer.
       5
                                                                  MR. LEVIN:                                             So the privilege is on his behalf
       6
                         personally.                                                                                                                                                                                                                                                        I
      7
                                                                 MR. NEITER:                                                 This is Dr. Gutgarts's deposition.                                                                                                                             ~.



      s                  This is his privilege.                                                                                       I've instructed him not to
      9
                         answer.
 10                                                              MR. LEVIN:                                             I asked a question about his dental
 11 practice.
 12                                                              MR. NEITER:                                                 I don't know how they practice in
 13                     Chicago, but that is his practice.                                                                                                                                   I've instructed him
 14 not to answer.
 15                                                              MR. LEVIN: Actually, he said it l S a
 16 corporation. But you l re still asserting a privilege
 17                    wi th respect to a question about the corporation J s
 is                     invol vement wi th a pharmacy and medical marijuana.
 19
                        Perhaps you should ask the              MR. NEITER:
20 question and then I will assert the privilege or not.
21                                                              MR. LEVIN:
                          I thought we had done that already.
22 I did as k the question and you asserted a privilege.
23                                                              MR. NEITER:                                                 Then what are we beating a dead
24 horse for?
25                                                              MR. LEVIN:                                             Because I want to make sure I know
~:Bf."9D:",/'5L'~"'k""~qj~~l;,_ '~,..~'.',~k._.i,,_;~_ ,. ~/;"-7-;.h';';'~h_..",'?""*."~¡'ol'¡~'~,,,,,,_~--;~#'._/ , -'-~.;~,¿"''i'i''~X'%--''-' '~j":::J,,.,,.,,. ;":",:';:a..\._,,,'0'.'---:"-"-:-;Æ-Æ-(""~h~; _':'~'.-'_':: "-"':~""::;;;---";;~;;"":ù)-B;~'__.:___','''i'_''_,___'OdiÜ""":L,""'';'~'l' ..~,ts", __;¿~_',:



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                                                                                        Page 54
       1
               who it is that you're asserting the privilege on behalf
       2       of.
       3
                                MR. NEITER:      I can i t go beyond what is on the
       4
               record already or my suggestion.
       5
                                MR. LEVIN:      I'm sorry? I didn i t hear the last
       6
               part.
       7
                                MR. NEITER: Would you read it back to him,
       8       please.
       9
                                 (The record was read by the
 10                             reporter as follows:
 11                              "MR. NEITER:     I can't go beyond what is on
 12                             the record already or my suggestion.")
 13                             MR. LEVIN: What was your suggestion?
 11)
                                MR. NEITER: What was my suggestion? My
 15            suggestion was that you ask a question that is an
 16            intelligible question and then we can focus the
 17            obj ection.
 18            BY MR. LEVIN:
19
                      l?- _ I~ _~our_ dental pract~ce_ .90_i~~ busi2e~~_wì f~ ~ __ --
20            ¡pharmacy-that i s- invoived with medica_l marijuana?
21
              '--- . -
                               l MR~ NEITER: I instruct him not to answer on
22            ,tlië--groun-ds of pri;acy.
23                             ~ MR. LEVJN~_ And ~~u i re asserting that right to
               .. --,- - - .
24
               '- .
               privacy on behalf of whom?
                                     .
25                              MR. NEITER:     I r m asserting the right to

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                                                                                                                                                                                                                                           Page 55
       1 pr-ivacy. tõ--the-question on behalf of the .deponent, _
      2 ~~~.=~1¡;~å3 -~~t.?óts -.J-
       3 BY MR. LEVIN:
               Q. So are you aware of whether or not Stanley was
      5 ever involved in the medical marij uana business?
      6                                  A. No.
      7
                                         Q. No, you i re not aware?
      8
                                        A. No.
      9
                                                            MR. LEVIN: Okay. Thatls all I have for this
  10                  one.
 11                                                         MR. NEITER: Okay.
 12                                                         THE WITNESS: Done?
 13                                                         MR. LEVIN: Wi th you.
 14                                                        MR. NEITER: Okay. Than k you.                                                                                                            I have no
 15                  questions.
 16                                                        MR. LEVIN: We're off the record.
 17                                                        MR. NEITER: I propose a stipulation that the
 1S deposition -- that the reporter will be relieved of her
 19 responsibi1i ty under the Code by sending the original
20 transcript to me, that I will have my client -- my
21 client may sign it by means of declaration of penalty of
22                  perjury.                                    I will advise you of any changes.                                                                                                                    I will
23                  bring it to court or any other proceeding that you may
24                  request.
25                                                        MR. LEVIN: What kind of timing do you need for
                                                                                                                                                                                                                                                                           ~
".'.Û-' _.~_.,,_t.:. ~v "'~' _n:,,:                                                                                                                                                                                                                                        Í:
                                      :i'I,,-~'¡;~~...'_,'~y';'~"''''~:;.,,-' :...n::;c(~~.:.._.:. .;;...".'4..."...',. . .~..'-' -:.;"-"'':'.~'" .'- ,"'~",,~';     . . ,- ;,. ,;:i...~..:;...~_'-.""w....:~..~..~,;'1 '"!~...',~~. .-.".-n"(f ":... .*_'oÆ_-,;~..~""'h';.~


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                                                                                                                                                                                                                                                          Page 56
      1
                     that? We i re going to order it rushed.                                                                                                                                                    We need this
      2
                     turned around pretty quick.                                                                                                                                                                                                                                           ~

                                                                                                                                                                                                                                                                                           ~
      3
                                                               MR. NEITER:                                                  Just a minute.                                                                                                                                                 i
      4
                                                                (Discussion held off the record.)                                                                                                                                                                                       ~

      5
                                                              MR. NEITER: After Dr. Mila Gutgarts' s                                                                                                                                                                                    ~

                                                                                                                                                                                                                                                                                           ;;
      6
                    deposition, you have Yuri. So we're talking about two                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                                           :t

      7 more hours or so. Let's check at the end of Yuri' sand
      8
                    then we i 11 make a blanket stipulation that you will
      9
                    insert at the conclusion of each one of the three.
 10
                                                             MR. LEVIN: That works.
 11
                                                               (The following stipulation was agreed
 12
                                                              to in the deposition of Yur i Stein:
 13
                                                              "MR. NEITER: We i 11 stipulate to
 14
                                                             relieve the court reporter of her
 15                                                          responsibili ty.                                                                She can send the
 16
                                                             original transcript to me. My clients
 17                                                          will have two weeks from the date of my
 18
                                                             receipt to read them, sign them, make
 19                                                          any corrections, and I'll notify you by                                                                                                                                                                                   i


20                                                          email wi thin two days thereafter of any                                                                                                                                                                                   ~

                                                                                                                                                                                                                                                                                       l.
21                                                          changes that are made or the date and fact                                                                                                                                                                                 ~



22                                                          of signing. And they can sign the
23                                                          deposi tions under penalty of perj ury.
24
                                                             "MR. LEVIN: And she can send the e-trans
25                                                                                                                                                                                                                                                                                     ,
                                                            to us by Monday.                                                                                                                                                                                                           ~



...~~.    .' '.-.~,ti~ ~;::.'" .~ci.- ",-':_";",$:;¡i"".,.'1;""~~~~h';:-t~~,-".... X'.;""h~",~..'r-i..-.--'~'ii:-..._..;;lf:i~"'~;;;"',L~'~_-";"~":,,,;,,,,,,,~:'I;",';~"i....., "'. .,¿:~,:.",,~__ ;''''_ :.. ;,..:~..C-T"'''-'~;.i;i...~.:ll., ;... -... .!. :;---'                 i
                                                                                                                                                                                                                                                                        -""..-.. . - ~-;...~

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                                                                                                                                                                                   Page 57
 1
                                                      "MR. NEITER:                                                      She i s going to do it to
 2                                                    you, but I i m talking about what I'm going
 3                                                    to do. That i s the basic stipulation that
 4
                                                      we would ordinarily make.                                                                                I i m not asking
 5                                                    "MR. LEVIN: So stipulated.                                                                                                                    i
 6                                                     "MR. NEITER: Fine. ")                                                                                                                       ~1

 7
                                                        (Deposition concluded at 3:11 p.m.)
 8


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                                                                                                                                                                                                        i
21                                                                                                                                                                                                      to:~

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       '.'-'.-';.:-.~~_. ;'l,:,;::.,';~~!;hi;~~,¥';~":-.~_.£'iWc:___'.h.J_:;..__ . "o.-:~"'¡'%';''';;;;'''~tl~S~J,;ø"x;;~'-~~+,,,,.:e,,,~l.'.'::¿ ::c'"


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                                                                                                                                                                                                                 Page 58
      1
                                                               DECLARATION
      2                                                                                                                                                                                                                                  I,
                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                         ¡j
      3                                                                                                                                                                                                                                  ;:



      4


      5          I hereby declare I am the deponent in the wi thin
      6   matter; that I have read the foregoing deposition and
     7
           know the contents thereof, and r declare that the same
     8     is true of my knowledge except as to the matters which
     9    are therein stated upon my information or belief, and as
 10       to those matters, I believe it to be true.
 11              r declare under the penal ties of perjury of the
 12       State of California that the foregoing is true and
 13       correct.
 14           Executed on the                                                                        day of
 15       2011, at                                                                                                                                   , California.
 16

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                                                                                          WITNESS
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                         "t;-o.;,k'~;:;,;'"",,1,,,,~a;;:,~',,,,Li, ;~i~" ~,m:"~"';!'~~~""'*"",~'i,.-. -.-. _...::.¡.:;.:,):L,~; :i'i"-'i!H;,:~,,;,,-;',,',;,ci,',;~r::,:"i;:~:._.:t, '~--.~"""F~~':'"__"~7'k~'l~","'~'ài!iM:;¡T"'.'''~


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                                                              Page 59


    1 STATE OF CALIFORNIA
                                    ss.
    2 COUNTY OF LOS ANGELES
    3

    4

    5 I, Marla Gorlick, Certified Shorthand Reporter,
    6 Certificate No. 3767, for the State of California,
    7 hereby certify:
    8 I am the deposition officer that
    9 stenographically recorded the testimony in the foregoing
   10 deposition;
   11 Prior to being examined, the deponent was first
   12 duly sworn by me;
   13 The foregoing transcript is a true record of
   14 the testimony given;
   15 Before completion of the deposition, review of
   16 the transcript (v/' was ( was not requested. If
   17 requested, any changes made by the deponent (and
   18 provided to the reporter) during the period allowed are
   19 appended hereto.
   20
   21                         , 2011.

   22



                             ~ÆtÆ~
   23
   24

   25                             CSR No. 3767



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